        Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 1 of 52
            Case 3:21-cv-03162-K Document 1 Filed 12/17/21 Page 1 of 6 PageID 1
BTXN 049 (rev. 03/15)
                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Highland Capital Management, L.P.                            §
                                                             §    Case No.: 19−34054−sgj11
                                           Debtor(s)         §    Chapter No.: 11
Highland Capital Management, L.P.                            §
                                           Plaintiff(s)      §    Adversary No.:      21−03005−sgj
     vs.                                                     §
NexPoint Advisors, L.P. et al.                               §    Civil Case No.:
                                           Defendant(s)      §
                                                             §
James D. Dondero, et al.                                     §
                                           Appellant(s)      §
      vs.                                                    §
Highland Capital Management LP                               §
                                           Appellee(s)       §
                                                             §
                                                             §


                                          NOTICE OF TRANSMITTAL
I am transmitting:

                The Motion for leave to Appeal 28 U.S.C. § (USDC Civil Action No. DNC Case).
                The Motion for Stay Pending Appeal (USDC Action No. − DNC Case).
                The Proposed Findings of Fact and Conclusions of Law.
                The Motion to Extend Time To File Designation (USDC Civil Action No DNC Case).
                On , the Record on Appeal was transmitted. The designation of record or item(s) designated by
                were not filed when the record was transmitted. The item(s) were filed on awaiting instructions
                from the assigned district judge.
                Other
                Copies of: Notice of appeal, appealed order [110] and supporting documents

TO ALL ATTORNEYS: File all subsequent papers captioned and numbered with the appropriate division of the
United States District Clerk's Office. Any questions concerning this proceeding should be directed to the U.S. District
Clerk's Office at (214) 753−2200.



DATED: 12/17/21                                   FOR THE COURT:
                                                  Robert P. Colwell, Clerk of Court

                                                  by: /s/Sheniqua Whitaker, Deputy Clerk
        Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 2 of 52
            Case 3:21-cv-03162-K Document 1 Filed 12/17/21 Page 2 of 6 PageID 2
BTXN 116 (rev. 07/08)
                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS




                                     APPEAL SERVICE LIST
                                     Transmission of the Record
BK Case No.: 19−34054−sgj11

Adversary No.: 21−03005−sgj

Received in District Court by:

Date:

Volume Number(s):

cc: Stacey G. Jernigan
    Robert (Bob) Schaaf
    Nathan (Nate) Elner
    Attorney(s) for Appellant
    US Trustee




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     Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 3 of 52
         Case 3:21-cv-03162-K Document 1 Filed 12/17/21 Page 3 of 6 PageID 3

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Appellant The Dugaboy Investment Trust

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     Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 4 of 52
         Case 3:21-cv-03162-K Document 1 Filed 12/17/21 Page 4 of 6 PageID 4
Appellee Highland Capital Management LP

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         Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 5 of 52
             Case 3:21-cv-03162-K Document 1 Filed 12/17/21 Page 5 of 6 PageID 5
BTXN 150 (rev. 11/10)
In Re:                                                                               §
Highland Capital Management, L.P.                                                    §
                                                                                     §       Case No.: 19−34054−sgj11
                                                          Debtor(s)                  §       Chapter No.: 11
Highland Capital Management, L.P.                                                    §
                                                          Plaintiff(s)               §       Adversary No.: 21−03005−sgj
     vs.                                                                             §
NexPoint Advisors, L.P. et al.                                                       §
                                                          Defendant(s)               §



                                                              CIVIL CASE COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet.

             I. (a) APPELLANT                                                                APPELLEE
                    James D. Dondero , et al.                                                Highland Capital Management LP
                 (b) County of Residence of First Listed Party:                              County of Residence of First Listed Party:
                     (EXCEPT IN U.S. PLAINTIFF CASES)                                        (IN U.S. PLAINTIFF CASES ONLY)
                 (c) Attorney's (Firm Name, Address, and Telephone Number)                   Attorney's (If Known)
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                        The Dugaboy Investment Trust (Appellant)
                        Attorneys:
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             II. BASIS OF JURISDICTION
                                                                                                 Federal Question                     Diversity
                          U.S. Government                  U.S. Government
                                                                                                 (U.S. Government                     (Indicate Citizenship
                  1       Plaintiff                  2     Defendant                     3                                     4
                                                                                                 Not a Party)                         of Parties in Item III)


             III. CITIZENSHIP OF PRINCIPAL PARTIES
                                                                                  Incorporated or Principal Place
             Citizen of This State
                                                      1                  1        of Business In This State                          4                  4
             Citizen of Another State
                                                      2                  2                                                           5                  5
Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 6 of 52
    Case 3:21-cv-03162-K Document 1 Filed 12/17/21 Page 6 of 6 PageID 6
                                                                         Incorporated and Principal Place
                                                                         of Business In Another State
 Citizen or Subject of a
                                                                         Foreign Nation
 Foreign Country                          3                 3                                                            6                    6


 IV. NATURE OF SUIT

      422 Appeal 28 USC 158                       423 Withdrawal 28 USC 157                       890 Other Statutory Actions


 V. ORIGIN
                                                Removed from State                                                                 Reinstated or
          Original Proceeding                                                     Remanded from Appellate Court
      1                                  2      Court                         3                                              4     Reopened
          Transferred from                      Multidistrict                     Appeal to District Judge from
      5   another district               6      Litigation                    7   Magistrate Judgment


 VI. CAUSE OF ACTION
 Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
 422 Appeal 28 USC 158
 Brief description of cause:
 Notice of appeal of a bankruptcy court order


 VII. REQUESTED IN COMPLAINT:
                                                                                                   CHECK YES only if demanded in complaint:
          CHECK IF THIS IS A CLASS ACTION UNDER F.R.C.P. 23                       DEMAND $
                                                                                                   JURY DEMAND:              Yes         No


 VIII. RELATED CASE(S) IF ANY
 Judge:                                                                      Docket Number: 3:21−cv−03160


 DATED: 12/17/21                                                FOR THE COURT:
                                                                Robert P. Colwell, Clerk of Court
                                                                by: /s/Sheniqua Whitaker, Deputy Clerk
Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 7 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 1 of 46 PageID 7


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                                                   AND NANCY DONDERO

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                                                   ATTORNEYS FOR THE DUGABOY INVESTMENT TRUST

                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION
In re:                                                §                Case No. 19-34054
                                                      §
HIGHLAND CAPITAL MANAGEMENT, L.P.                     §                Chapter 11
                                                      §
         Debtor.                                      §

HIGHLAND CAPITAL MANAGEMENT, L.P.,                    §
                                                      §
         Plaintiff.                                   §
                                                      §
v.                                                    §
                                                      §                Adversary No.: 21-03005-sgj
NEXPOINT ADVISORS, L.P., JAMES                        §
DONDERO, NANCY DONDERO, AND THE                       §
DUGABOY INVESTMENT TRUST,                             §
                                                      §
         Defendants.                                  §


                                        NOTICE OF APPEAL




NOTICE OF APPEAL – Page 1
CORE/3522697.0002/171452114.2
Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 8 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 2 of 46 PageID 8



Part 1: Identify the appellant(s)
    1.            Name(s) of appellant(s): James D. Dondero, Nancy Dondero, and The Dugaboy
                  Investment Trust
    2.            Position of appellant(s) in the adversary proceeding or bankruptcy case that is the
                  subject of this appeal:
For appeals in an adversary proceeding. For appeals in a bankruptcy case and not in
  Plaintiff                             an adversary proceeding.
X Defendants                              Debtor
  Other (describe)                        Creditor
_____________________________________ Trustee
                                           Other (describe) _______________

Part 2: Identify the subject of this appeal
    1.            Describe the judgment, order, or decree appealed from:
                  Memorandum Opinion and Order Denying Arbitration Request and Related
                  Relief [Dkt. No. 110] A copy of the order is attached hereto as Exhibit 1.

    2.            State the date on which the judgment, order, or decree was entered:

                  December 3, 2021

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names,
addresses, and telephone numbers of their attorneys (attach additional pages if necessary):
    1.            Party:
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                  Attorneys:
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NOTICE OF APPEAL – Page 2
CORE/3522697.0002/171452114.2
Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 9 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 3 of 46 PageID 9



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NOTICE OF APPEAL – Page 3
CORE/3522697.0002/171452114.2
Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 10 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 4 of 46 PageID 10


    4.            Party:
                  Highland Capital Management LP (Appellee)
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    5.            Party:

                  NexPoint Advisors LP (Other Party)

                  Attorneys:

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NOTICE OF APPEAL – Page 4
CORE/3522697.0002/171452114.2
Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 11 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 5 of 46 PageID 11



Dated: December 16, 2021            Respectfully submitted,

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                                    ATTORNEYS FOR JAMES DONDERO




NOTICE OF APPEAL – Page 5
CORE/3522697.0002/171452114.2
Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 12 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 6 of 46 PageID 12



                                            /s/Douglas S. Draper
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                                            ATTORNEYS FOR THE DUGABOY INVESTMENT
                                            TRUST

                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on December 16, 2021, a true and correct copy of
the foregoing document was served via the Court’s CM/ECF system on all parties registered to
receive notice in this case.
                                              /s/ Michael P. Aigen
                                              Michael P. Aigen




NOTICE OF APPEAL – Page 6
CORE/3522697.0002/171452114.2
Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 13 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 7 of 46 PageID 13




                   EXHIBIT 1
     Case
     Case21-03005-sgj
          21-03005-sgjDoc
                       Doc130
                           110Filed
                              Filed12/17/21
                                    12/03/21 Entered
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                                                                        Page141 of
                                                                                 of1252
       Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 8Docket
                                                                 of 46#0110 Date Filed: 12/3/2021
                                                                        PageID  14




The following constitutes the ruling of the court and has the force and effect therein described.




Signed December 3, 2021
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re:                                          Case No. 19-34054-sgj11
      HIGHLAND CAPITAL MANAGEMENT, L.P.
      Reorganized Debtor.                             Chapter 11

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
      v.                                              Adversary No. 21-03003-sgj
      JAMES D. DONDERO, NANCY DONDERO, AND
      THE DUGABOY INVESTMENT TRUST,
               Defendants.

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
      v.                                              Adversary No.: 21-03005-sgj
      NEXPOINT ADVISORS, L.P., JAMES DONDERO,
      NANCY DONDERO, AND
      THE DUGABOY INVESTMENT TRUST,
               Defendants.

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.




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Case
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     21-03005-sgjDoc
                  Doc130
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                                                                 Page15
                                                                      2 of
                                                                         of12
                                                                            52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 9 of 46 PageID 15


    v.                                                         Adversary No.: 21-03006-sgj
    HIGHLAND CAPITAL MANAGEMENT
    SERVICES, INC., JAMES DONDERO, NANCY
    DONDERO, AND THE DUGABOY INVESTMENT
    TRUST,
              Defendants.

    HIGHLAND CAPITAL MANAGEMENT, L.P.,
              Plaintiff.
    v.                                                         Adversary No.: 21-03007-sgj
    HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL
    ESTATE PARTNERS, LLC), JAMES DONDERO,
    NANCY DONDERO AND THE DUGABOY
    INVESTMENT TRUST,
              Defendants.



MEMORANDUM OPINION AND ORDER DENYING ARBITRATION REQUEST AND
                      RELATED RELIEF
         I.      Introduction and Background
        The four above-referenced adversary proceedings, Adversary Proceeding Nos. 21-3003,
21-3005, 21-3006, and 21-3007, started out as what seemed like simple suits by a Chapter 11
Debtor to collect on large promissory notes owed to it (collectively, the “Note Adversary
Proceedings”). The court held a hearing on November 9, 2021 (“Hearing”) on various motions
filed by certain defendants in the Note Adversary Proceedings. This Memorandum Opinion and
Order addresses certain motions to compel arbitration and to stay these Note Adversary
Proceedings while arbitration would be proceeding. 1 For the reasons set forth below, the court will
not compel arbitration or stay these Note Adversary Proceedings.
      The Note Adversary Proceedings were originally brought many months ago by Plaintiff
Highland Capital Management L.P., now a reorganized debtor (“Highland” or “Reorganized
Debtor”), again, as simple suits on notes—that is, alleging breach of contract and seeking turnover
of amounts owed from the various obligors under the notes (the “Note Obligor Defendants”). Each
Note Obligor Defendant was closely related to Highland’s former president, James Dondero (“Mr.
Dondero), 2 and collectively borrowed tens of millions of dollars from Highland prepetition. The



1 Certain defendants herein earlier filed a motion to withdraw the reference in these Note Adversary Proceedings
(arguing that the claims were statutory noncore claims or that the bankruptcy court otherwise did not have
Constitutional authority to enter final orders). The District Court accepted the bankruptcy court’s report and
recommendation that the reference should be withdrawn when these Note Adversary Proceedings are trial-ready with
the bankruptcy court acting essentially in the position of a magistrate judge for the District Court prior to trial,
presiding over all pretrial matters.
2   In fact, Mr. Dondero personally was an obligor on three notes.


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                                                                 Page16
                                                                      3 of
                                                                         of12
                                                                            52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 10 of 46 PageID 16



indebtedness was memorialized in a series of demand and term notes. The indebtedness
represented by those notes remains unpaid.
       The Note Adversary Proceedings morphed, so to speak, when the Note Obligor Defendants
defended the Note Adversary Proceedings by alleging that an oral agreement existed such that the
underlying notes would be forgiven by Highland as compensation to Highland’s former president,
Mr. Dondero, if certain conditions subsequent occurred. The oral agreement was allegedly made
on behalf of Highland, acting through one of its largest limited partners, Dugaboy Investment Trust
(“Dugaboy”), which is a family trust of Mr. Dondero, on which the trustee is his sister Nancy
Dondero (“Ms. Dondero”).
        When this “oral agreement” defense was articulated, this court granted Highland’s request
for leave to amend its original complaints in each of the Note Adversary Proceedings to allege
alternative theories of liability and add Mr. Dondero, 3 Dugaboy, and Ms. Dondero as additional
defendants on new counts—the theories being that, if such an oral agreement was made, it may
have given rise other causes of action on the part of the actors involved. Highland amended its
complaints in each of the Note Adversary Proceedings, adding new Counts III, IV, V, VI, and VII
alleging, among other things, fraudulent transfers (Counts III and IV), declaratory judgment as to
certain provisions of Highland’s limited partnership agreement (Count V), breach of fiduciary duty
(Count VI), and aiding and abetting breach of fiduciary duty (Count VII) (the “Amended
Complaints”).
        Presently before the court are a set of virtually identical motions filed by Mr. Dondero,
Dugaboy, and Ms. Dondero in each of the four Note Adversary Proceedings seeking to compel
arbitration as to Counts V, VI, and VII of, and stay litigation altogether in, the Note Adversary
Proceedings, pending the arbitration of Counts V, VI, and VII (the Motion to Compel Arbitration
and Stay Litigation [Doc. 85, 66, 74, and 65, respectively, in each sequentially-numbered Note
Adversary Proceeding 4], the “Arbitration Motions”). Highland timely filed objections to the
motions [Doc. 92, 76, 81, and 77] and replies were filed by Mr. Dondero, Dugaboy and Ms.
Dondero [Doc. 107, 88, 93, and 88]. 5
        As set forth below, Mr. Dondero, Dugaboy, and Ms. Dondero (hereinafter the
“Dondero/Dugaboy Defendants”) rely on a mandatory arbitration clause in Highland’s Limited
Partnership Agreement as the basis for their arbitration request. To be clear, there are no arbitration
clauses in the underlying promissory notes. And the Note Obligor Defendants are not seeking
arbitration of the breach of contract claims, turnover claims, or fraudulent transfer claims. It is

3Mr. Dondero was actually already a Note Obligor Defendant in Adv. Proc. No. 21-3003, as he as an obligor on three
notes.
4   All subsequent “Doc.” references in this Memorandum Opinion and Order follow this convention.
5 The court considered these replies despite the lateness of their filing, less than two business days before the Hearing.
At the Hearing, Highland noted its displeasure with these replies being filed 37 days after Highland filed its objections
but did expressly did not ask the court to strike the replies. The court reminds the parties, as Highland correctly pointed
out, that the Local Civil Rules for the Northern District of Texas, and not the Local Bankruptcy Rules, apply to these
adversary proceedings in all respects, since the reference to the Bankruptcy Court was withdrawn and this court is
conducting all proceedings in the position of a magistrate judge for the District Court. The replies here were required
to be filed no later than 14 days following the filing of Highland’s objections. See Local Civil Rule 7.1(f).


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                                                12/03/2117:28:09
                                                        15:35:03 Page
                                                                 Page17
                                                                      4 of
                                                                         of12
                                                                            52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 11 of 46 PageID 17



only the Dondero/Dugaboy Defendants seeking arbitration as to Count V (seeking declaratory
judgment as to provisions of the Highland limited partnership agreement) and Counts VI and VII
(the fiduciary duty claims). The court denies the Arbitration Motions for the reasons stated below.
    II.       The Agreement Containing the Arbitration Clause
        First, a word about what is and is not in dispute regarding the Arbitration Motions. The
parties agree that Highland’s Fourth Amended and Restated Agreement of Limited Partnership
(the “LPA”) 6 contained Section 6.14, a typical mandatory arbitration provision that requires parties
to the LPA to arbitrate certain disputes under certain circumstances (the “Arbitration Clause”):
          In the event there is an unresolved legal dispute between the parties and/or any of
          their respective officers, directors, partners, employees, agents, affiliates or other
          representatives that involves legal rights or remedies arising from this Agreement,
          the parties agree to submit their dispute to binding arbitration under the authority
          of the Federal Arbitration Act …
The Arbitration Clause also significantly limited discovery that could occur in arbitration:
          The discovery process shall be limited to the following: Each side shall be permitted
          no more than (i) two party depositions of six hours each, each deposition to be taken
          pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six
          hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions;
          (v) ten request for production (in response, the producing party shall not be
          obligated to produce in excess of 5,000 total pages of documents, including
          electronic documents); and (vi) one request for disclosure pursuant to the Texas
          Rules of Civil Procedure.
The parties further agree that the LPA, as an executory contract, was rejected under 11 U.S.C.
§ 365 in connection with the court’s order confirming Highland’s plan of reorganization in
February 2021.
       The Dondero/Dugaboy Defendants acknowledge that Counts I–IV of the Amended
Complaints (Breach of Contract; Turnover; Fraudulent Transfers under 11 U.S.C. § 548; and
Fraudulent Transfers under 11 U.S.C. § 544 and the Texas Uniform Fraudulent Transfer Act) are
not subject to the Arbitration Clause.
       The Dondero/Dugaboy Defendants argue in the Arbitration Motions, however, that Counts
V, VI, and VII of the Amended Complaints (seeking a declaratory judgment as to provisions of
LPA and claiming breach of fiduciary duty and aiding and abetting of breach of fiduciary duty—


6 The LPA was executed by Highland’s then-general partner, Strand Advisors, Inc., through the individual James
Dondero, who was also then Highland’s CEO and Highland’s majority limited partner, The Dugaboy Investment
Trust, James Dondero’s family trust, through its trustee, the individual Nancy Dondero, James Dondero’s sister.
(Various other limited partners also signed the LPA, but they are not Note Obligor Defendants.) The “oral agreement”
defense alleges that The Dugaboy Investment Trust, through Nancy Dondero as trustee, as the holder of a Majority
Interest (as defined in the LPA), entered into oral agreements on behalf of Highland with James Dondero to forgive
the demand notes at the center of these Note Adversary Proceedings if certain conditions subsequent were met.


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                                                                         of12
                                                                            52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 12 of 46 PageID 18



all counts that, notably, Highland only added after the Note Obligor Defendants articulated their
“oral agreement” defense) are subject to the Arbitration Clause. Highland counters that: (a) the
rejection of the LPA excuses Highland from being forced to submit to mandatory arbitration of
Counts V, VI, and VII; (b) the Dondero/Dugaboy Defendants have waived the Arbitration Clause
by not invoking it at any earlier point in these Note Adversary Proceedings; and (c) the
Dondero/Dugaboy Defendants should be judicially estopped from invoking the Arbitration Clause
now. Highland also argues that arbitration of some but not all the counts of the Amended
Complaints would be inefficient and wasteful, and that any stay of proceedings in this court would
do a disservice to the resolution of the admittedly non-arbitrable issues in Counts I–IV.
      III.      The Significance of the Rejection of the Executory Contract (i.e., the LPA) that
                Contained the Arbitration Clause
       The court acknowledges that there is a wealth of federal case law dictating the strong
federal policy undergirding the Federal Arbitration Act (“FAA”). See, e.g., Moses H. Cone Mem'l
Hosp. v. Mercury Const. Corp., 460 U.S. 1, 24, 103 S. Ct. 927, 74 L. Ed. 2d 765 (1983) (describing
the FAA as “a congressional declaration of a liberal federal policy favoring arbitration
agreements”). The FAA was enacted by Congress in 1925 and became effective in 1926. It is
codified at Title 9 of the United States Code and is predicated upon Congress’s exercise of the
Commerce Clause powers granted in the Constitution. The FAA contemplates the judiciary’s
respect for and enforcement of private parties’ agreements to resolve disputes through arbitration.
The FAA provides:
             A written provision in … a contract … to settle by arbitration a controversy
             thereafter arising out of such contract … shall be valid, irrevocable, and
             enforceable, save upon such grounds as exist at law or in equity for the revocation
             of any contract.”7

Thus, arbitration, pursuant to the FAA, is entirely a matter of contract. And, where a contract
contains a provision in which parties agreed to submit future disputes thereunder to arbitration,
these provisions should be enforced according to their terms. Section 4 of the FAA specifically
directs a court to order parties to arbitrate upon a request by a party that is entitled to demand
arbitration in a written contract. The courts have often stated that the FAA reflects a liberal federal
policy favoring arbitration and requires arbitration agreements to be rigorously enforced according
to their terms. 8
        The court also notes that some courts have grappled with whether a bankruptcy court needs
to treat an arbitration provision in a contract any “less mandatory” than other courts. After all,
bankruptcy cases are not like other lawsuits; they are multi-faceted, multi-party, and fast-moving.
It has often been stated that the underlying purposes of the Bankruptcy Code are to: (a) provide
debtors and creditors with orderly and effective administration of bankruptcy estates; and (b)
centralize disputes over debtors’ assets and obligations in one forum. But there is no
“bankruptcy exception” to an arbitration agreement per se—not in any statute and not according

7   9 U.S.C. § 2.
8   See AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011) (citations omitted).


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                                                                      6 of
                                                                         of12
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  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 13 of 46 PageID 19



to any court so far. Some courts have opined or suggested that a bankruptcy court, when presiding
over a proceeding involving “non-core” disputes pursuant to 28 U.S.C. § 157(b)—i.e., disputes
that are merely related to a bankruptcy case and would have been litigated elsewhere but for the
broad nexus created by the debtor’s bankruptcy filing—generally must abstain from adjudication
and direct the parties to arbitration when presented with an applicable arbitration provision. 9 But
when a bankruptcy court is presented with a “core” dispute—i.e., one which derives from the
provisions of the Bankruptcy Code—it may be permissible for the bankruptcy court to decline to
order arbitration; after determining that “core” disputes are involved, courts tend to employ a
framework for analysis derived from a nonbankruptcy Supreme Court case called Shearson/Am.
Express, Inc. v. McMahon, 482 U.S. 220 (1987). In a nutshell, the McMahon Court held that a
party seeking to avoid arbitration pursuant to an otherwise applicable agreement must show that
Congress—in enacting whatever statute is involved (i.e., the Bankruptcy Code) intended to
preclude arbitration and that intent must be deducible from: (1) the statute’s text; (2) its legislative
history; or (3) “an inherent conflict between arbitration and the statute’s underlying purposes.”10
Thus, courts—after finding “core” disputes are involved—tend to plow down a complicated trail
of considering whether there is an “inherent conflict” between arbitration and the Bankruptcy Code
in whatever dispute happens to be before the court.
        The Fifth Circuit has addressed the topic of enforceability of arbitration clauses in
bankruptcy in the cases of In re Gandy and In re Nat’l Gypsum.11 In those cases, the Fifth Circuit
instructed that a bankruptcy court may refuse to enforce arbitration clauses and may itself
adjudicate a dispute when it finds that: (a) a matter is core or derives from rights under the
Bankruptcy Code; and (b) enforcement of the arbitration provision would irreconcilably conflict
with the purposes or goals of the Bankruptcy Code.12
        While this is all somewhat enlightening, a slightly different argument is presented to this
court by Highland in its argument that the bankruptcy court should not compel arbitration.
Highland does not deny the existence of any of the above case law nor the fact that Counts V, VI,
and VII involve non-core matters that do not derive from rights under the Bankruptcy Code.
Rather, Highland argues, these Note Adversary Proceedings present a circumstance that very few
courts have addressed. The LPA (or at least the Arbitration Clause) was an executory contract
that Highland rejected in its confirmed Chapter 11 plan. As noted above, no one disputes that
the LPA was rejected pursuant to Bankruptcy Code section 365. The result, argues Highland, is


9 At least one court has suggested that there is a “presumption in favor of arbitration [that] usually trumps the lesser
interest of bankruptcy courts in adjudicating non-core proceedings.” MBNA Am. Bank, N.A. v. Hill, 436 F.3d 104, 108
(2d Cir. 2006). But see Hays & Co. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 885 F.2d 1149, 1156-1158 (3d
Cir. 1989) (determining there is no discretion to deny arbitration in non-core matters). See also Gandy v. Gandy (In
re Gandy), 299 F.3d 489, 496 (5th Cir. 2002) (“it is generally accepted that a bankruptcy court has no discretion to
refuse to compel the arbitration of matters not involving ‘core’ bankruptcy proceedings under 28 U.S.C. § 157(b)”);
Ins. Co. of N. Am. v. NGC Settlement Trust & Asbestos Claims Mgmt. Corp. (In re Nat'l Gypsum Co.), 118 F.3d 1056
(5th Cir. 1997) (same).
10   McMahon, 482 U.S. at 227.
11   Gandy, 299 F.3d at 489; Nat'l Gypsum Co., 118 F.3d at 1056.
12   In re Nat'l Gypsum Co., 118 F.3d at 1068-69.


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                                                        15:35:03 Page
                                                                 Page20
                                                                      7 of
                                                                         of12
                                                                            52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 14 of 46 PageID 20



that Highland is no longer bound by the LPA’s provisions that impose specific performance
obligations on it—provisions such as the Arbitration Clause. A counterparty to a rejected
executory contract can merely seek monetary damages, Highland argues, but it cannot force a
debtor to perform under a rejected executory contract.
       Highland’s argument finds support in a both lengthy and well-reasoned opinion by District
Judge David Godbey of this District — Janvey v. Alguire, 2014 U.S. Dist. LEXIS 193394 (N.D.
Tex. Jul. 20, 2014), aff’d on different grounds at 847 F.3d 231 (5 th Cir. 2017), dealing with federal
receiverships (in which the court made analogies to the bankruptcy process)—as well as in an old
law review article written by renowned University of Texas Law School Professor Jay Westbrook
(often considered the modern-day expert on executory contracts in bankruptcy). See Jay
Westbrook, The Coming Encounter: International Arbitration and Bankruptcy, 67 UNIV. OF MINN.
LAW SCHOOL 595 (1983).
        The Janvey opinion arose in the context of a federal receivership commenced at the request
of the Securities and Exchange Commission in response to the massive R. Allen Stanford Ponzi
scheme. Ralph S. Janvey was the receiver (“Receiver”) who took possession of all receivership
assets and records. Pursuant to those powers, the Receiver filed suit against former employees
(the “Employee Defendants”) who previously worked in various capacities for the Stanford
enterprises (“Stanford Entities”) and received salary, commissions, bonuses, or later forgiven loans
from the Stanford Entities. The Receiver’s suit alleged that the Employee Defendants received
fraudulent transfers in violation of the Texas Uniform Fraudulent Transfer Act (TUFTA) or, in the
alternative, were unjustly enriched at the expense of the creditors of the Receivership Estate. Some
of the Employee Defendants filed motions to compel arbitration. According to a later Fifth Circuit
opinion, the arbitration agreements were contained in: (1) promissory notes between the Employee
Defendants and the company that governed the upfront loan payments that the company awarded
to the Employee Defendants when they joined Stanford; (2) the broker-dealer forms that the
company submitted to the Financial Industry Regulation Authority (FINRA) when registering the
Employee Defendants as brokers; (3) FINRA’s internal rules governing disputes between brokers
and their employers; and (4) the company’s Performance Appreciation Rights plan. The
arbitration clauses provided that “any controversy arising out of or relating to this Note, or default
on this Note, shall be submitted to and settled by arbitration pursuant to the constitution, bylaws,
rules and regulations of the National Association of Securities Dealers (NASD).” Janvey v.
Alguire, 847 F.3d 231, 237 (5th Cir. 2017).
       The issue of whether arbitration was required went back and forth between Judge Godbey
and the Fifth Circuit and, ultimately, the precise issue pending before Judge Godbey was whether
to deny or grant the motions to compel arbitration based on the question of “whether the Receiver
is bound by the arbitration clauses if he sues, as he must, on behalf of the Stanford Entities.”
         Judge Godbey declined to order arbitration because the Receiver had not adopted the
arbitration agreements at issue and because arbitration of the Receiver’s claims would frustrate a
central purpose of federal equity receiverships. Judge Godbey noted that, before a general
requirement to arbitrate exists, a party must first be bound to an arbitration agreement — either as
a signatory or through a principle of law or equity. Judge Godbey stated that discussions of



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Case21-03005-sgj
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                               12/03/21 Entered
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                                                12/03/2117:28:09
                                                        15:35:03 Page
                                                                 Page21
                                                                      8 of
                                                                         of12
                                                                            52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 15 of 46 PageID 21



possible exceptions to this general requirement to arbitrate, like McMahon’s contrary
congressional command, are only necessary after such an initial determination. Judge Godbey
opined that equity receivers, as non-signatories to an arbitration agreement, can, in fact, be bound
to the arbitration agreement to the same extent receivership entities would be bound. But there
remained a significant resultant question: whether the Employee Defendants’ arbitration
agreements were contracts that the Receiver could reject, “an ability that has deep historical roots
for both federal equity receivers and bankruptcy trustees and that continues to be an important tool
for both.”
        Applying Professor Vern Countryman’s material breach test, Judge Godbey concluded that
arbitration agreements must be analyzed as separate executory contracts, based on the nature of
the agreement as well as arbitration caselaw regarding severability. Citing Professor Westbrook,
he noted that, “‘[v]iewed as an independent contractual obligation of the parties, an arbitration
agreement is a classic executory contract, since neither side has substantially performed the
arbitration agreement at the time enforcement is sought.’ Westbrook, supra note 26, at 623
(footnote omitted). Furthermore, the appropriate remedy in this circumstance cannot be for the
Court to require specific performance by the trustee — i.e., to compel arbitration — because
‘injured part[ies] cannot insist on specific performance by the trustee.’ See id. at 619 (collecting
cases).” Janvey, 2014 U.S. Dist. LEXIS 193394 at *113.
        Judge Godbey went on to opine that the Receiver had rejected the arbitration agreement,
that the rejection was proper, and that the Receiver was not bound to arbitrate—further noting that
if the court required the Receiver to adopt the arbitration agreements, it would greatly burden and
deplete the receivership estate. Such a result, weighed in the balance, would be unjust and
inequitable.
         The Fifth Circuit ultimately affirmed, 847 F.3d 231 (5th Cir. 2017), but applied a different
analysis. It determined that the Stanford entity in whose shoes the Receiver had stepped, for
purposes of bringing the TUFTA claims (i.e., Stanford International Bank), was not a signatory to
the arbitration agreements and was not otherwise bound by them. The Fifth Circuit also
determined that, with regard to one Employee Defendant (Giusti) who stood in a unique position
(in that there was an arbitration agreement that the Receiver’s predecessor was party to and bound),
that Guisti waived the right to arbitrate by substantially invoking the judicial process (through the
filing of a motion to dismiss, an answer, serving written discovery and answering discovery—
which had caused delay and expense). As for Judge Godbey’s “broader policy argument” that the
federal receivership statutes were at odds with the FAA’s mandate in favor of arbitration, noting
that these were “important concerns,” the Fifth Circuit stated that “we are wary of endorsing these
broad policy arguments in the absence of specific direction from the Supreme Court.” Id. at 245.
But the Fifth Circuit did not otherwise address the arguments.
       While the Janvey case involved a federal receiver, Judge Godbey looked almost entirely to
bankruptcy law and to Bankruptcy Code section 365 to reach his ruling. This court finds Janvey
to be persuasive (and possibly binding) on this court. Moreover, just as a federal receiver is
analogous to a bankruptcy trustee, a debtor-in-possession is, of course, statutorily the same as a
bankruptcy trustee. See, e.g., 11 U.S.C. § 1107.



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     21-03005-sgjDoc
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                               12/03/21 Entered
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                                                12/03/2117:28:09
                                                        15:35:03 Page
                                                                 Page22
                                                                      9 of
                                                                         of12
                                                                            52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 16 of 46 PageID 22



        To be clear, if a bankruptcy trustee rejects an executory contract, the rejection, of course,
constitutes a breach of the contract and subjects the estate to a claim for money damages on behalf
of the injured party. 11 U.S.C. § 365(g). Significantly, however, the injured party cannot insist
on specific performance by the trustee. See Westbrook, The Coming Encounter, at 619 (and
numerous cases cited therein). Instead, the injured party is treated as having a prepetition claim
for damages arising as if the breach occurred immediately before the filing of the bankruptcy
petition. Professor Westbrook notes that the issue then becomes whether such a prepetition claim,
including a claim arising from rejection, must be liquidated pursuant to the arbitration clause. Most
jurisprudence in the bankruptcy context dealing with arbitration clauses does not analyze this
as a traditional executory contract conundrum. And yet, to use Professor Westbrook’s words,
an arbitration agreement is a classic executory contract, since neither side has substantially
performed the arbitration agreement at the time enforcement is sought. Id. at 623. And although
“arbitration survives the contract” as a matter of contract law, “executory obligations may be
avoided by the trustee as a matter of bankruptcy law through the exercise of the trustee’s power to
reject executory contracts.” Id. “If specific performance is not available against a trustee, it follows
that an arbitration agreement is like any other executory contract which the trustee may reject.”
Id. at 624.
         The Janvey decision is not the only case to have addressed the effect of rejection on the
viability of an arbitration clause within a rejected executory contract. The Dondero/Dugaboy
Defendants cite the court to In re Fleming Companies, Inc., 325 B.R. 687 (Bankr. D. Del. 2005),
a case from another bankruptcy court that predates Janvey by almost a decade, for the proposition
that rejection of an executory contract does not prevent a party from invoking an arbitration clause
in that contract. With due respect, the court believes the reasoning in Janvey to be more persuasive
than the bankruptcy court’s in Fleming Cos. (and Janvey is potentially binding precedent on this
court). It also bears noting that it was the debtor in Fleming Cos., not the executory contract’s
counterparty, who was invoking the arbitration clause in the contract the debtor had previously
rejected. That distinction is not without significance.
        In summary, this court accepts Highland’s argument that the LPA was an executory
contract duly rejected pursuant to Bankruptcy Code section 365, and that the Arbitration Clause
should likewise be considered a separate executory agreement that was rejected. Accordingly,
Highland cannot be forced to specifically perform under the Arbitration Clause or the LPA by
mandatorily participating in arbitration of Counts V, VI, and VII. The court defers to the
compelling reasoning of Judge Godbey in Janvey on this point. The court, like Judge Godbey,
also finds as a matter of fact that requiring arbitration in this case would impose undue and
unwarranted burdens and expenses on the parties to the detriment of Highland’s creditors.
    IV.     Waiver
       Even if this court is in error in determining that the Arbitration Clause is no longer binding
on Highland because it was rejected pursuant to Bankruptcy Code section 365, the court finds as
a matter fact that the Dondero/Dugaboy Defendants have waived any right to invoke the
Arbitration Clause. The court has taken judicial notice of its own docket, both in these Note
Adversary Proceedings and in the administrative Chapter 11 case, and has considered the entire



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Case 21-03005-sgj Doc 130
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                                12/03/21 Entered 12/17/21
                                                 12/03/21 17:28:09
                                                          15:35:03 Page 23
                                                                        10 of 52
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  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 17 of 46 PageID 23



record of both proceedings, as well as the Declaration of John A. Morris in Support of Debtor’s
Objection to Motion to Compel Arbitration and Stay Litigation [Doc. 94, 78, 83, and 78], and the
exhibits annexed thereto, in making the following findings of fact.
        The Note Adversary Proceedings were filed in January 2021 (after Highland earlier made
demands on the Note Obligor Defendants or otherwise declared events of default). One of the
Note Obligor Defendants (Mr. Dondero) timely answered, pleading an affirmative defense that
Highland agreed not collect on the underlying notes—but that answer contained nothing more
specific than this, nor any mention of arbitration. Amended Answers were later filed by the Note
Obligor Defendants, elaborating on and/or adopting the affirmative defense that, through the oral
agreement, Highland agreed to forgive the obligations under the notes as compensation to Mr.
Dondero “upon fulfillment of conditions precedent.” Roughly 90 days after the filing of the Note
Adversary Proceedings, the Note Obligor Defendants filed motions to withdraw the reference,
which this court spent significant time addressing in making a report and recommendation to the
District Court in each Note Adversary Proceeding. No mention of arbitration was made to this
court during those proceedings. During a hearing before the court on June 10, 2021, Highland
announced its intention to add claims against the Dondero/Dugaboy Defendants for breach of
fiduciary duty, yet the issue of arbitration was not raised at that point, or a month later when the
Dondero/Dugaboy Defendants received a draft of the Amended Complaint adding Counts V, VI,
and VII. Pursuant to the parties’ agreement, Highland filed that Amended Complaint on August
27, 2021, as the Dondero/Dugaboy Defendants’ “oral agreement” defense became clearer. Only
on September 1, 2021, did the Dondero/Dugaboy Defendants file their Arbitration Motions and
raise the issue of arbitration under the Arbitration Clause for the first time in these proceedings,
more than seven months after the litigation began. At the same time, the Dondero/Dugaboy
Defendants also pursued extensive discovery, seeking and obtaining responses to interrogatories
and documents requests in scope and number significantly more than the Arbitration Clause
permitted, all in accordance with pre-trial stipulations the defendants both negotiated with
Highland and then asked this court to approve, which the court did.
         Although courts in the Fifth Circuit sometimes apply a presumption against waiver of an
arbitration right, the right can certainly be waived. 13 “Waiver will be found when the party seeking
arbitration substantially invokes the judicial process to the detriment or prejudice of the other
party.” 14 In this context, prejudice “refers to the inherent unfairness—in terms of delay, expense,
or damage to a party’s legal position—that occurs when the party’s opponent forces it to litigate
an issue and later seeks to arbitrate that same issue.’” 15 A party waives arbitration when it
“‘engage[s] in some overt act in court that evinces a desire to resolve the arbitrable dispute through
litigation rather than arbitration.’” 16


13   Williams v. Cigna Fin. Advisors, Inc., 56 F.3d 656, 661 (5th Cir. 1995).
14   Miller Brewing Co. v. Fort Worth Distrib. Co., 781 F.2d 494, 497 (5th Cir. 1986).
15Subway Equip. Leasing Corp. v. Forte, 169 F.3d 324, 327 (5th Cir. 1999) (quoting Doctor’s Assocs., Inc. v. Distajo,
107 F.3d 126, 134 (2d Cir. 1997)).
16Keytrade USA v. Ain Temouchent M/V, 404 F.3d 891, 897 (5th Cir. 2005) (quoting Republic Ins. Co. v. PAICO
Receivables, LLC, 383 F.3d 341, 344 (5th Cir. 2004)). See also Price v. Drexel Burnham Lambert, Inc., 791 F.2d


                                                           10
Case 21-03005-sgj Doc 130
                      110 Filed 12/17/21
                                12/03/21 Entered 12/17/21
                                                 12/03/21 17:28:09
                                                          15:35:03 Page 24
                                                                        11 of 52
                                                                              12
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 18 of 46 PageID 24



         While every situation is unique, here the court finds that the Dondero/Dugaboy Defendants
waived their right (if any still remained) to demand arbitration, due to their multiple answers, their
motions to withdraw the reference, extensive discovery that far exceeded what the Arbitration
Clause permitted, and complete silence about the possibility of arbitration for more than eight
months. Even though Counts V, VI, and VII were not added by Highland until more than seven
months after the Note Adversary Proceedings were filed, the Dondero/Dugaboy Defendants had
reason to know that their “oral agreement” affirmative defense might implicate the LPA and the
Arbitration Clause, and yet they didn’t raise the subject of arbitration until many months of
litigation activity in the Note Adversary Proceedings had occurred in this court. 17 The resulting
delay and expense warrant this court’s applying waiver as permitted by the Fifth Circuit authority
cited above. This court finds as a matter of fact that the Dondero/Dugaboy Defendants waived the
relief they seek in the Arbitration Motions.
       V.       Judicial Estoppel, Waste and Inefficiency
        Highland also asked the court: (a) to judicially estop the Dondero/Dugaboy Defendants
from arguing entitlement to arbitration in light of prior contradictory positions these defendants
took in earlier pleadings and arguments before this court, and (b) to decline to order arbitration
because of the waste and inefficiency arbitration would represent for these proceedings. Because
the court rules that rejection of the Arbitration Clause precludes Highland’s being forced to submit
to arbitration, and because the court finds that the Dondero/Dugaboy Defendants waived the relief
they sought in the Arbitration Motions, the court need not and does not address Highland’s
arguments pertaining to judicial estoppel or the practical implications of ordering arbitration.
       VI.      Stay of Counts I–IV
         Finally, because the court denies the arbitration requested in the Arbitration Motions, there
is no good cause to stay litigation in the entire Note Adversary Proceedings. Even if the court has
erred in its ruling on the Arbitration Motions, there still exists no good cause to stay the Note
Adversary Proceeding as to Counts I-IV. The Dondero/Dugaboy Defendants acknowledge that
Counts I-IV are non-arbitrable claims and, moreover, in the event Plaintiff were to prevail on them,
it is likely that Plaintiff would not even pursue Counts V–VII. To clarify, if Plaintiff prevails on
Counts I and II (i.e., the breach of contract claims and turnover)—which would involve a finding
that there was no oral agreement for nonpayment—then all other counts would become moot.
And, if the court were to find that there were such an agreement, Plaintiff could potentially still
prevail on Counts III and IV (the claims that such an agreement would constitute a fraudulent
transfer—also non-arbitrabal). It would seem that only if Plaintiff loses on all of these non-
arbitrable claims would it have any interest in pursuing Counts V-VII (i.e., an interest in arguing
that the oral agreements amounted to breach of fiduciary duty and aiding and abetting breach of
fiduciary duty).


1156, 1162 (5th Cir. 1986) (party waived arbitration because it “initiated extensive discovery, answered twice, filed
motions to dismiss and for summary judgment, filed and obtained two extensions of pre-trial deadlines, all without
demanding arbitration”).
17   The court notes that all Note Obligor Defendants consist of either Mr. Dondero or entities he controls.


                                                           11
Case 21-03005-sgj Doc 130
                      110 Filed 12/17/21
                                12/03/21 Entered 12/17/21
                                                 12/03/21 17:28:09
                                                          15:35:03 Page 25
                                                                        12 of 52
                                                                              12
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 19 of 46 PageID 25



        The requested stay would also be illogical in this context. The “oral agreement” defense
relies on the existence of an oral contract between Highland (via Dugaboy, through its trustee, Ms.
Dondero) and Mr. Dondero. The existence of that contract is not an arbitrable issue. The
implications of that contract’s existence are what would potentially be arbitrable. If litigation on
Counts I–IV demonstrates that there was no such “oral agreement,” then there would be nothing
to arbitrate because Counts V–VII would be rendered moot. Staying the litigated determination
regarding the existence of the “oral agreement” in favor of arbitrating issues that only arise if there
ever were such an agreement strikes the court as backwards. Arbitration should await that
determination, not the other way around.
      Accordingly, the Dondero/Dugaboy Defendants’ requests to stay the Note Adversary
Proceedings have no merit and are denied.
                                              ORDER
For the reasons stated in the above Memorandum Opinion and Order, the Arbitration Motions and
Stay Motions related thereto are DENIED.


                                       ### End of Order ###




                                                  12
     Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 26 of 52
       Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 20 of 46 PageID 26




The following constitutes the ruling of the court and has the force and effect therein described.




Signed December 3, 2021
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

      In re:                                          Case No. 19-34054-sgj11
      HIGHLAND CAPITAL MANAGEMENT, L.P.
      Reorganized Debtor.                             Chapter 11

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
      v.                                              Adversary No. 21-03003-sgj
      JAMES D. DONDERO, NANCY DONDERO, AND
      THE DUGABOY INVESTMENT TRUST,
               Defendants.

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
      v.                                              Adversary No.: 21-03005-sgj
      NEXPOINT ADVISORS, L.P., JAMES DONDERO,
      NANCY DONDERO, AND
      THE DUGABOY INVESTMENT TRUST,
               Defendants.

      HIGHLAND CAPITAL MANAGEMENT, L.P.,
               Plaintiff.
Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 27 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 21 of 46 PageID 27


    v.                                                         Adversary No.: 21-03006-sgj
    HIGHLAND CAPITAL MANAGEMENT
    SERVICES, INC., JAMES DONDERO, NANCY
    DONDERO, AND THE DUGABOY INVESTMENT
    TRUST,
              Defendants.

    HIGHLAND CAPITAL MANAGEMENT, L.P.,
              Plaintiff.
    v.                                                         Adversary No.: 21-03007-sgj
    HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL
    ESTATE PARTNERS, LLC), JAMES DONDERO,
    NANCY DONDERO AND THE DUGABOY
    INVESTMENT TRUST,
              Defendants.



MEMORANDUM OPINION AND ORDER DENYING ARBITRATION REQUEST AND
                      RELATED RELIEF
         I.      Introduction and Background
        The four above-referenced adversary proceedings, Adversary Proceeding Nos. 21-3003,
21-3005, 21-3006, and 21-3007, started out as what seemed like simple suits by a Chapter 11
Debtor to collect on large promissory notes owed to it (collectively, the “Note Adversary
Proceedings”). The court held a hearing on November 9, 2021 (“Hearing”) on various motions
filed by certain defendants in the Note Adversary Proceedings. This Memorandum Opinion and
Order addresses certain motions to compel arbitration and to stay these Note Adversary
Proceedings while arbitration would be proceeding. 1 For the reasons set forth below, the court will
not compel arbitration or stay these Note Adversary Proceedings.
      The Note Adversary Proceedings were originally brought many months ago by Plaintiff
Highland Capital Management L.P., now a reorganized debtor (“Highland” or “Reorganized
Debtor”), again, as simple suits on notes—that is, alleging breach of contract and seeking turnover
of amounts owed from the various obligors under the notes (the “Note Obligor Defendants”). Each
Note Obligor Defendant was closely related to Highland’s former president, James Dondero (“Mr.
Dondero), 2 and collectively borrowed tens of millions of dollars from Highland prepetition. The



1 Certain defendants herein earlier filed a motion to withdraw the reference in these Note Adversary Proceedings
(arguing that the claims were statutory noncore claims or that the bankruptcy court otherwise did not have
Constitutional authority to enter final orders). The District Court accepted the bankruptcy court’s report and
recommendation that the reference should be withdrawn when these Note Adversary Proceedings are trial-ready with
the bankruptcy court acting essentially in the position of a magistrate judge for the District Court prior to trial,
presiding over all pretrial matters.
2   In fact, Mr. Dondero personally was an obligor on three notes.


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Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 28 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 22 of 46 PageID 28



indebtedness was memorialized in a series of demand and term notes. The indebtedness
represented by those notes remains unpaid.
       The Note Adversary Proceedings morphed, so to speak, when the Note Obligor Defendants
defended the Note Adversary Proceedings by alleging that an oral agreement existed such that the
underlying notes would be forgiven by Highland as compensation to Highland’s former president,
Mr. Dondero, if certain conditions subsequent occurred. The oral agreement was allegedly made
on behalf of Highland, acting through one of its largest limited partners, Dugaboy Investment Trust
(“Dugaboy”), which is a family trust of Mr. Dondero, on which the trustee is his sister Nancy
Dondero (“Ms. Dondero”).
        When this “oral agreement” defense was articulated, this court granted Highland’s request
for leave to amend its original complaints in each of the Note Adversary Proceedings to allege
alternative theories of liability and add Mr. Dondero, 3 Dugaboy, and Ms. Dondero as additional
defendants on new counts—the theories being that, if such an oral agreement was made, it may
have given rise other causes of action on the part of the actors involved. Highland amended its
complaints in each of the Note Adversary Proceedings, adding new Counts III, IV, V, VI, and VII
alleging, among other things, fraudulent transfers (Counts III and IV), declaratory judgment as to
certain provisions of Highland’s limited partnership agreement (Count V), breach of fiduciary duty
(Count VI), and aiding and abetting breach of fiduciary duty (Count VII) (the “Amended
Complaints”).
        Presently before the court are a set of virtually identical motions filed by Mr. Dondero,
Dugaboy, and Ms. Dondero in each of the four Note Adversary Proceedings seeking to compel
arbitration as to Counts V, VI, and VII of, and stay litigation altogether in, the Note Adversary
Proceedings, pending the arbitration of Counts V, VI, and VII (the Motion to Compel Arbitration
and Stay Litigation [Doc. 85, 66, 74, and 65, respectively, in each sequentially-numbered Note
Adversary Proceeding 4], the “Arbitration Motions”). Highland timely filed objections to the
motions [Doc. 92, 76, 81, and 77] and replies were filed by Mr. Dondero, Dugaboy and Ms.
Dondero [Doc. 107, 88, 93, and 88]. 5
        As set forth below, Mr. Dondero, Dugaboy, and Ms. Dondero (hereinafter the
“Dondero/Dugaboy Defendants”) rely on a mandatory arbitration clause in Highland’s Limited
Partnership Agreement as the basis for their arbitration request. To be clear, there are no arbitration
clauses in the underlying promissory notes. And the Note Obligor Defendants are not seeking
arbitration of the breach of contract claims, turnover claims, or fraudulent transfer claims. It is

3Mr. Dondero was actually already a Note Obligor Defendant in Adv. Proc. No. 21-3003, as he as an obligor on three
notes.
4   All subsequent “Doc.” references in this Memorandum Opinion and Order follow this convention.
5 The court considered these replies despite the lateness of their filing, less than two business days before the Hearing.
At the Hearing, Highland noted its displeasure with these replies being filed 37 days after Highland filed its objections
but did expressly did not ask the court to strike the replies. The court reminds the parties, as Highland correctly pointed
out, that the Local Civil Rules for the Northern District of Texas, and not the Local Bankruptcy Rules, apply to these
adversary proceedings in all respects, since the reference to the Bankruptcy Court was withdrawn and this court is
conducting all proceedings in the position of a magistrate judge for the District Court. The replies here were required
to be filed no later than 14 days following the filing of Highland’s objections. See Local Civil Rule 7.1(f).


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Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 29 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 23 of 46 PageID 29



only the Dondero/Dugaboy Defendants seeking arbitration as to Count V (seeking declaratory
judgment as to provisions of the Highland limited partnership agreement) and Counts VI and VII
(the fiduciary duty claims). The court denies the Arbitration Motions for the reasons stated below.
    II.       The Agreement Containing the Arbitration Clause
        First, a word about what is and is not in dispute regarding the Arbitration Motions. The
parties agree that Highland’s Fourth Amended and Restated Agreement of Limited Partnership
(the “LPA”) 6 contained Section 6.14, a typical mandatory arbitration provision that requires parties
to the LPA to arbitrate certain disputes under certain circumstances (the “Arbitration Clause”):
          In the event there is an unresolved legal dispute between the parties and/or any of
          their respective officers, directors, partners, employees, agents, affiliates or other
          representatives that involves legal rights or remedies arising from this Agreement,
          the parties agree to submit their dispute to binding arbitration under the authority
          of the Federal Arbitration Act …
The Arbitration Clause also significantly limited discovery that could occur in arbitration:
          The discovery process shall be limited to the following: Each side shall be permitted
          no more than (i) two party depositions of six hours each, each deposition to be taken
          pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six
          hours; (iii) twenty-five interrogatories; (iv) twenty-five requests for admissions;
          (v) ten request for production (in response, the producing party shall not be
          obligated to produce in excess of 5,000 total pages of documents, including
          electronic documents); and (vi) one request for disclosure pursuant to the Texas
          Rules of Civil Procedure.
The parties further agree that the LPA, as an executory contract, was rejected under 11 U.S.C.
§ 365 in connection with the court’s order confirming Highland’s plan of reorganization in
February 2021.
       The Dondero/Dugaboy Defendants acknowledge that Counts I–IV of the Amended
Complaints (Breach of Contract; Turnover; Fraudulent Transfers under 11 U.S.C. § 548; and
Fraudulent Transfers under 11 U.S.C. § 544 and the Texas Uniform Fraudulent Transfer Act) are
not subject to the Arbitration Clause.
       The Dondero/Dugaboy Defendants argue in the Arbitration Motions, however, that Counts
V, VI, and VII of the Amended Complaints (seeking a declaratory judgment as to provisions of
LPA and claiming breach of fiduciary duty and aiding and abetting of breach of fiduciary duty—


6 The LPA was executed by Highland’s then-general partner, Strand Advisors, Inc., through the individual James
Dondero, who was also then Highland’s CEO and Highland’s majority limited partner, The Dugaboy Investment
Trust, James Dondero’s family trust, through its trustee, the individual Nancy Dondero, James Dondero’s sister.
(Various other limited partners also signed the LPA, but they are not Note Obligor Defendants.) The “oral agreement”
defense alleges that The Dugaboy Investment Trust, through Nancy Dondero as trustee, as the holder of a Majority
Interest (as defined in the LPA), entered into oral agreements on behalf of Highland with James Dondero to forgive
the demand notes at the center of these Note Adversary Proceedings if certain conditions subsequent were met.


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Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 30 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 24 of 46 PageID 30



all counts that, notably, Highland only added after the Note Obligor Defendants articulated their
“oral agreement” defense) are subject to the Arbitration Clause. Highland counters that: (a) the
rejection of the LPA excuses Highland from being forced to submit to mandatory arbitration of
Counts V, VI, and VII; (b) the Dondero/Dugaboy Defendants have waived the Arbitration Clause
by not invoking it at any earlier point in these Note Adversary Proceedings; and (c) the
Dondero/Dugaboy Defendants should be judicially estopped from invoking the Arbitration Clause
now. Highland also argues that arbitration of some but not all the counts of the Amended
Complaints would be inefficient and wasteful, and that any stay of proceedings in this court would
do a disservice to the resolution of the admittedly non-arbitrable issues in Counts I–IV.
      III.      The Significance of the Rejection of the Executory Contract (i.e., the LPA) that
                Contained the Arbitration Clause
       The court acknowledges that there is a wealth of federal case law dictating the strong
federal policy undergirding the Federal Arbitration Act (“FAA”). See, e.g., Moses H. Cone Mem'l
Hosp. v. Mercury Const. Corp., 460 U.S. 1, 24, 103 S. Ct. 927, 74 L. Ed. 2d 765 (1983) (describing
the FAA as “a congressional declaration of a liberal federal policy favoring arbitration
agreements”). The FAA was enacted by Congress in 1925 and became effective in 1926. It is
codified at Title 9 of the United States Code and is predicated upon Congress’s exercise of the
Commerce Clause powers granted in the Constitution. The FAA contemplates the judiciary’s
respect for and enforcement of private parties’ agreements to resolve disputes through arbitration.
The FAA provides:
             A written provision in … a contract … to settle by arbitration a controversy
             thereafter arising out of such contract … shall be valid, irrevocable, and
             enforceable, save upon such grounds as exist at law or in equity for the revocation
             of any contract.”7

Thus, arbitration, pursuant to the FAA, is entirely a matter of contract. And, where a contract
contains a provision in which parties agreed to submit future disputes thereunder to arbitration,
these provisions should be enforced according to their terms. Section 4 of the FAA specifically
directs a court to order parties to arbitrate upon a request by a party that is entitled to demand
arbitration in a written contract. The courts have often stated that the FAA reflects a liberal federal
policy favoring arbitration and requires arbitration agreements to be rigorously enforced according
to their terms. 8
        The court also notes that some courts have grappled with whether a bankruptcy court needs
to treat an arbitration provision in a contract any “less mandatory” than other courts. After all,
bankruptcy cases are not like other lawsuits; they are multi-faceted, multi-party, and fast-moving.
It has often been stated that the underlying purposes of the Bankruptcy Code are to: (a) provide
debtors and creditors with orderly and effective administration of bankruptcy estates; and (b)
centralize disputes over debtors’ assets and obligations in one forum. But there is no
“bankruptcy exception” to an arbitration agreement per se—not in any statute and not according

7   9 U.S.C. § 2.
8   See AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011) (citations omitted).


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Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 31 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 25 of 46 PageID 31



to any court so far. Some courts have opined or suggested that a bankruptcy court, when presiding
over a proceeding involving “non-core” disputes pursuant to 28 U.S.C. § 157(b)—i.e., disputes
that are merely related to a bankruptcy case and would have been litigated elsewhere but for the
broad nexus created by the debtor’s bankruptcy filing—generally must abstain from adjudication
and direct the parties to arbitration when presented with an applicable arbitration provision. 9 But
when a bankruptcy court is presented with a “core” dispute—i.e., one which derives from the
provisions of the Bankruptcy Code—it may be permissible for the bankruptcy court to decline to
order arbitration; after determining that “core” disputes are involved, courts tend to employ a
framework for analysis derived from a nonbankruptcy Supreme Court case called Shearson/Am.
Express, Inc. v. McMahon, 482 U.S. 220 (1987). In a nutshell, the McMahon Court held that a
party seeking to avoid arbitration pursuant to an otherwise applicable agreement must show that
Congress—in enacting whatever statute is involved (i.e., the Bankruptcy Code) intended to
preclude arbitration and that intent must be deducible from: (1) the statute’s text; (2) its legislative
history; or (3) “an inherent conflict between arbitration and the statute’s underlying purposes.”10
Thus, courts—after finding “core” disputes are involved—tend to plow down a complicated trail
of considering whether there is an “inherent conflict” between arbitration and the Bankruptcy Code
in whatever dispute happens to be before the court.
        The Fifth Circuit has addressed the topic of enforceability of arbitration clauses in
bankruptcy in the cases of In re Gandy and In re Nat’l Gypsum.11 In those cases, the Fifth Circuit
instructed that a bankruptcy court may refuse to enforce arbitration clauses and may itself
adjudicate a dispute when it finds that: (a) a matter is core or derives from rights under the
Bankruptcy Code; and (b) enforcement of the arbitration provision would irreconcilably conflict
with the purposes or goals of the Bankruptcy Code.12
        While this is all somewhat enlightening, a slightly different argument is presented to this
court by Highland in its argument that the bankruptcy court should not compel arbitration.
Highland does not deny the existence of any of the above case law nor the fact that Counts V, VI,
and VII involve non-core matters that do not derive from rights under the Bankruptcy Code.
Rather, Highland argues, these Note Adversary Proceedings present a circumstance that very few
courts have addressed. The LPA (or at least the Arbitration Clause) was an executory contract
that Highland rejected in its confirmed Chapter 11 plan. As noted above, no one disputes that
the LPA was rejected pursuant to Bankruptcy Code section 365. The result, argues Highland, is


9 At least one court has suggested that there is a “presumption in favor of arbitration [that] usually trumps the lesser
interest of bankruptcy courts in adjudicating non-core proceedings.” MBNA Am. Bank, N.A. v. Hill, 436 F.3d 104, 108
(2d Cir. 2006). But see Hays & Co. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 885 F.2d 1149, 1156-1158 (3d
Cir. 1989) (determining there is no discretion to deny arbitration in non-core matters). See also Gandy v. Gandy (In
re Gandy), 299 F.3d 489, 496 (5th Cir. 2002) (“it is generally accepted that a bankruptcy court has no discretion to
refuse to compel the arbitration of matters not involving ‘core’ bankruptcy proceedings under 28 U.S.C. § 157(b)”);
Ins. Co. of N. Am. v. NGC Settlement Trust & Asbestos Claims Mgmt. Corp. (In re Nat'l Gypsum Co.), 118 F.3d 1056
(5th Cir. 1997) (same).
10   McMahon, 482 U.S. at 227.
11   Gandy, 299 F.3d at 489; Nat'l Gypsum Co., 118 F.3d at 1056.
12   In re Nat'l Gypsum Co., 118 F.3d at 1068-69.


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Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 32 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 26 of 46 PageID 32



that Highland is no longer bound by the LPA’s provisions that impose specific performance
obligations on it—provisions such as the Arbitration Clause. A counterparty to a rejected
executory contract can merely seek monetary damages, Highland argues, but it cannot force a
debtor to perform under a rejected executory contract.
       Highland’s argument finds support in a both lengthy and well-reasoned opinion by District
Judge David Godbey of this District — Janvey v. Alguire, 2014 U.S. Dist. LEXIS 193394 (N.D.
Tex. Jul. 20, 2014), aff’d on different grounds at 847 F.3d 231 (5 th Cir. 2017), dealing with federal
receiverships (in which the court made analogies to the bankruptcy process)—as well as in an old
law review article written by renowned University of Texas Law School Professor Jay Westbrook
(often considered the modern-day expert on executory contracts in bankruptcy). See Jay
Westbrook, The Coming Encounter: International Arbitration and Bankruptcy, 67 UNIV. OF MINN.
LAW SCHOOL 595 (1983).
        The Janvey opinion arose in the context of a federal receivership commenced at the request
of the Securities and Exchange Commission in response to the massive R. Allen Stanford Ponzi
scheme. Ralph S. Janvey was the receiver (“Receiver”) who took possession of all receivership
assets and records. Pursuant to those powers, the Receiver filed suit against former employees
(the “Employee Defendants”) who previously worked in various capacities for the Stanford
enterprises (“Stanford Entities”) and received salary, commissions, bonuses, or later forgiven loans
from the Stanford Entities. The Receiver’s suit alleged that the Employee Defendants received
fraudulent transfers in violation of the Texas Uniform Fraudulent Transfer Act (TUFTA) or, in the
alternative, were unjustly enriched at the expense of the creditors of the Receivership Estate. Some
of the Employee Defendants filed motions to compel arbitration. According to a later Fifth Circuit
opinion, the arbitration agreements were contained in: (1) promissory notes between the Employee
Defendants and the company that governed the upfront loan payments that the company awarded
to the Employee Defendants when they joined Stanford; (2) the broker-dealer forms that the
company submitted to the Financial Industry Regulation Authority (FINRA) when registering the
Employee Defendants as brokers; (3) FINRA’s internal rules governing disputes between brokers
and their employers; and (4) the company’s Performance Appreciation Rights plan. The
arbitration clauses provided that “any controversy arising out of or relating to this Note, or default
on this Note, shall be submitted to and settled by arbitration pursuant to the constitution, bylaws,
rules and regulations of the National Association of Securities Dealers (NASD).” Janvey v.
Alguire, 847 F.3d 231, 237 (5th Cir. 2017).
       The issue of whether arbitration was required went back and forth between Judge Godbey
and the Fifth Circuit and, ultimately, the precise issue pending before Judge Godbey was whether
to deny or grant the motions to compel arbitration based on the question of “whether the Receiver
is bound by the arbitration clauses if he sues, as he must, on behalf of the Stanford Entities.”
         Judge Godbey declined to order arbitration because the Receiver had not adopted the
arbitration agreements at issue and because arbitration of the Receiver’s claims would frustrate a
central purpose of federal equity receiverships. Judge Godbey noted that, before a general
requirement to arbitrate exists, a party must first be bound to an arbitration agreement — either as
a signatory or through a principle of law or equity. Judge Godbey stated that discussions of



                                                  7
Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 33 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 27 of 46 PageID 33



possible exceptions to this general requirement to arbitrate, like McMahon’s contrary
congressional command, are only necessary after such an initial determination. Judge Godbey
opined that equity receivers, as non-signatories to an arbitration agreement, can, in fact, be bound
to the arbitration agreement to the same extent receivership entities would be bound. But there
remained a significant resultant question: whether the Employee Defendants’ arbitration
agreements were contracts that the Receiver could reject, “an ability that has deep historical roots
for both federal equity receivers and bankruptcy trustees and that continues to be an important tool
for both.”
        Applying Professor Vern Countryman’s material breach test, Judge Godbey concluded that
arbitration agreements must be analyzed as separate executory contracts, based on the nature of
the agreement as well as arbitration caselaw regarding severability. Citing Professor Westbrook,
he noted that, “‘[v]iewed as an independent contractual obligation of the parties, an arbitration
agreement is a classic executory contract, since neither side has substantially performed the
arbitration agreement at the time enforcement is sought.’ Westbrook, supra note 26, at 623
(footnote omitted). Furthermore, the appropriate remedy in this circumstance cannot be for the
Court to require specific performance by the trustee — i.e., to compel arbitration — because
‘injured part[ies] cannot insist on specific performance by the trustee.’ See id. at 619 (collecting
cases).” Janvey, 2014 U.S. Dist. LEXIS 193394 at *113.
        Judge Godbey went on to opine that the Receiver had rejected the arbitration agreement,
that the rejection was proper, and that the Receiver was not bound to arbitrate—further noting that
if the court required the Receiver to adopt the arbitration agreements, it would greatly burden and
deplete the receivership estate. Such a result, weighed in the balance, would be unjust and
inequitable.
         The Fifth Circuit ultimately affirmed, 847 F.3d 231 (5th Cir. 2017), but applied a different
analysis. It determined that the Stanford entity in whose shoes the Receiver had stepped, for
purposes of bringing the TUFTA claims (i.e., Stanford International Bank), was not a signatory to
the arbitration agreements and was not otherwise bound by them. The Fifth Circuit also
determined that, with regard to one Employee Defendant (Giusti) who stood in a unique position
(in that there was an arbitration agreement that the Receiver’s predecessor was party to and bound),
that Guisti waived the right to arbitrate by substantially invoking the judicial process (through the
filing of a motion to dismiss, an answer, serving written discovery and answering discovery—
which had caused delay and expense). As for Judge Godbey’s “broader policy argument” that the
federal receivership statutes were at odds with the FAA’s mandate in favor of arbitration, noting
that these were “important concerns,” the Fifth Circuit stated that “we are wary of endorsing these
broad policy arguments in the absence of specific direction from the Supreme Court.” Id. at 245.
But the Fifth Circuit did not otherwise address the arguments.
       While the Janvey case involved a federal receiver, Judge Godbey looked almost entirely to
bankruptcy law and to Bankruptcy Code section 365 to reach his ruling. This court finds Janvey
to be persuasive (and possibly binding) on this court. Moreover, just as a federal receiver is
analogous to a bankruptcy trustee, a debtor-in-possession is, of course, statutorily the same as a
bankruptcy trustee. See, e.g., 11 U.S.C. § 1107.



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Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 34 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 28 of 46 PageID 34



        To be clear, if a bankruptcy trustee rejects an executory contract, the rejection, of course,
constitutes a breach of the contract and subjects the estate to a claim for money damages on behalf
of the injured party. 11 U.S.C. § 365(g). Significantly, however, the injured party cannot insist
on specific performance by the trustee. See Westbrook, The Coming Encounter, at 619 (and
numerous cases cited therein). Instead, the injured party is treated as having a prepetition claim
for damages arising as if the breach occurred immediately before the filing of the bankruptcy
petition. Professor Westbrook notes that the issue then becomes whether such a prepetition claim,
including a claim arising from rejection, must be liquidated pursuant to the arbitration clause. Most
jurisprudence in the bankruptcy context dealing with arbitration clauses does not analyze this
as a traditional executory contract conundrum. And yet, to use Professor Westbrook’s words,
an arbitration agreement is a classic executory contract, since neither side has substantially
performed the arbitration agreement at the time enforcement is sought. Id. at 623. And although
“arbitration survives the contract” as a matter of contract law, “executory obligations may be
avoided by the trustee as a matter of bankruptcy law through the exercise of the trustee’s power to
reject executory contracts.” Id. “If specific performance is not available against a trustee, it follows
that an arbitration agreement is like any other executory contract which the trustee may reject.”
Id. at 624.
         The Janvey decision is not the only case to have addressed the effect of rejection on the
viability of an arbitration clause within a rejected executory contract. The Dondero/Dugaboy
Defendants cite the court to In re Fleming Companies, Inc., 325 B.R. 687 (Bankr. D. Del. 2005),
a case from another bankruptcy court that predates Janvey by almost a decade, for the proposition
that rejection of an executory contract does not prevent a party from invoking an arbitration clause
in that contract. With due respect, the court believes the reasoning in Janvey to be more persuasive
than the bankruptcy court’s in Fleming Cos. (and Janvey is potentially binding precedent on this
court). It also bears noting that it was the debtor in Fleming Cos., not the executory contract’s
counterparty, who was invoking the arbitration clause in the contract the debtor had previously
rejected. That distinction is not without significance.
        In summary, this court accepts Highland’s argument that the LPA was an executory
contract duly rejected pursuant to Bankruptcy Code section 365, and that the Arbitration Clause
should likewise be considered a separate executory agreement that was rejected. Accordingly,
Highland cannot be forced to specifically perform under the Arbitration Clause or the LPA by
mandatorily participating in arbitration of Counts V, VI, and VII. The court defers to the
compelling reasoning of Judge Godbey in Janvey on this point. The court, like Judge Godbey,
also finds as a matter of fact that requiring arbitration in this case would impose undue and
unwarranted burdens and expenses on the parties to the detriment of Highland’s creditors.
    IV.     Waiver
       Even if this court is in error in determining that the Arbitration Clause is no longer binding
on Highland because it was rejected pursuant to Bankruptcy Code section 365, the court finds as
a matter fact that the Dondero/Dugaboy Defendants have waived any right to invoke the
Arbitration Clause. The court has taken judicial notice of its own docket, both in these Note
Adversary Proceedings and in the administrative Chapter 11 case, and has considered the entire



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Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 35 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 29 of 46 PageID 35



record of both proceedings, as well as the Declaration of John A. Morris in Support of Debtor’s
Objection to Motion to Compel Arbitration and Stay Litigation [Doc. 94, 78, 83, and 78], and the
exhibits annexed thereto, in making the following findings of fact.
        The Note Adversary Proceedings were filed in January 2021 (after Highland earlier made
demands on the Note Obligor Defendants or otherwise declared events of default). One of the
Note Obligor Defendants (Mr. Dondero) timely answered, pleading an affirmative defense that
Highland agreed not collect on the underlying notes—but that answer contained nothing more
specific than this, nor any mention of arbitration. Amended Answers were later filed by the Note
Obligor Defendants, elaborating on and/or adopting the affirmative defense that, through the oral
agreement, Highland agreed to forgive the obligations under the notes as compensation to Mr.
Dondero “upon fulfillment of conditions precedent.” Roughly 90 days after the filing of the Note
Adversary Proceedings, the Note Obligor Defendants filed motions to withdraw the reference,
which this court spent significant time addressing in making a report and recommendation to the
District Court in each Note Adversary Proceeding. No mention of arbitration was made to this
court during those proceedings. During a hearing before the court on June 10, 2021, Highland
announced its intention to add claims against the Dondero/Dugaboy Defendants for breach of
fiduciary duty, yet the issue of arbitration was not raised at that point, or a month later when the
Dondero/Dugaboy Defendants received a draft of the Amended Complaint adding Counts V, VI,
and VII. Pursuant to the parties’ agreement, Highland filed that Amended Complaint on August
27, 2021, as the Dondero/Dugaboy Defendants’ “oral agreement” defense became clearer. Only
on September 1, 2021, did the Dondero/Dugaboy Defendants file their Arbitration Motions and
raise the issue of arbitration under the Arbitration Clause for the first time in these proceedings,
more than seven months after the litigation began. At the same time, the Dondero/Dugaboy
Defendants also pursued extensive discovery, seeking and obtaining responses to interrogatories
and documents requests in scope and number significantly more than the Arbitration Clause
permitted, all in accordance with pre-trial stipulations the defendants both negotiated with
Highland and then asked this court to approve, which the court did.
         Although courts in the Fifth Circuit sometimes apply a presumption against waiver of an
arbitration right, the right can certainly be waived. 13 “Waiver will be found when the party seeking
arbitration substantially invokes the judicial process to the detriment or prejudice of the other
party.” 14 In this context, prejudice “refers to the inherent unfairness—in terms of delay, expense,
or damage to a party’s legal position—that occurs when the party’s opponent forces it to litigate
an issue and later seeks to arbitrate that same issue.’” 15 A party waives arbitration when it
“‘engage[s] in some overt act in court that evinces a desire to resolve the arbitrable dispute through
litigation rather than arbitration.’” 16


13   Williams v. Cigna Fin. Advisors, Inc., 56 F.3d 656, 661 (5th Cir. 1995).
14   Miller Brewing Co. v. Fort Worth Distrib. Co., 781 F.2d 494, 497 (5th Cir. 1986).
15Subway Equip. Leasing Corp. v. Forte, 169 F.3d 324, 327 (5th Cir. 1999) (quoting Doctor’s Assocs., Inc. v. Distajo,
107 F.3d 126, 134 (2d Cir. 1997)).
16Keytrade USA v. Ain Temouchent M/V, 404 F.3d 891, 897 (5th Cir. 2005) (quoting Republic Ins. Co. v. PAICO
Receivables, LLC, 383 F.3d 341, 344 (5th Cir. 2004)). See also Price v. Drexel Burnham Lambert, Inc., 791 F.2d


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Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 36 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 30 of 46 PageID 36



         While every situation is unique, here the court finds that the Dondero/Dugaboy Defendants
waived their right (if any still remained) to demand arbitration, due to their multiple answers, their
motions to withdraw the reference, extensive discovery that far exceeded what the Arbitration
Clause permitted, and complete silence about the possibility of arbitration for more than eight
months. Even though Counts V, VI, and VII were not added by Highland until more than seven
months after the Note Adversary Proceedings were filed, the Dondero/Dugaboy Defendants had
reason to know that their “oral agreement” affirmative defense might implicate the LPA and the
Arbitration Clause, and yet they didn’t raise the subject of arbitration until many months of
litigation activity in the Note Adversary Proceedings had occurred in this court. 17 The resulting
delay and expense warrant this court’s applying waiver as permitted by the Fifth Circuit authority
cited above. This court finds as a matter of fact that the Dondero/Dugaboy Defendants waived the
relief they seek in the Arbitration Motions.
       V.       Judicial Estoppel, Waste and Inefficiency
        Highland also asked the court: (a) to judicially estop the Dondero/Dugaboy Defendants
from arguing entitlement to arbitration in light of prior contradictory positions these defendants
took in earlier pleadings and arguments before this court, and (b) to decline to order arbitration
because of the waste and inefficiency arbitration would represent for these proceedings. Because
the court rules that rejection of the Arbitration Clause precludes Highland’s being forced to submit
to arbitration, and because the court finds that the Dondero/Dugaboy Defendants waived the relief
they sought in the Arbitration Motions, the court need not and does not address Highland’s
arguments pertaining to judicial estoppel or the practical implications of ordering arbitration.
       VI.      Stay of Counts I–IV
         Finally, because the court denies the arbitration requested in the Arbitration Motions, there
is no good cause to stay litigation in the entire Note Adversary Proceedings. Even if the court has
erred in its ruling on the Arbitration Motions, there still exists no good cause to stay the Note
Adversary Proceeding as to Counts I-IV. The Dondero/Dugaboy Defendants acknowledge that
Counts I-IV are non-arbitrable claims and, moreover, in the event Plaintiff were to prevail on them,
it is likely that Plaintiff would not even pursue Counts V–VII. To clarify, if Plaintiff prevails on
Counts I and II (i.e., the breach of contract claims and turnover)—which would involve a finding
that there was no oral agreement for nonpayment—then all other counts would become moot.
And, if the court were to find that there were such an agreement, Plaintiff could potentially still
prevail on Counts III and IV (the claims that such an agreement would constitute a fraudulent
transfer—also non-arbitrabal). It would seem that only if Plaintiff loses on all of these non-
arbitrable claims would it have any interest in pursuing Counts V-VII (i.e., an interest in arguing
that the oral agreements amounted to breach of fiduciary duty and aiding and abetting breach of
fiduciary duty).


1156, 1162 (5th Cir. 1986) (party waived arbitration because it “initiated extensive discovery, answered twice, filed
motions to dismiss and for summary judgment, filed and obtained two extensions of pre-trial deadlines, all without
demanding arbitration”).
17   The court notes that all Note Obligor Defendants consist of either Mr. Dondero or entities he controls.


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Case 21-03005-sgj Doc 130 Filed 12/17/21 Entered 12/17/21 17:28:09 Page 37 of 52
  Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 31 of 46 PageID 37



        The requested stay would also be illogical in this context. The “oral agreement” defense
relies on the existence of an oral contract between Highland (via Dugaboy, through its trustee, Ms.
Dondero) and Mr. Dondero. The existence of that contract is not an arbitrable issue. The
implications of that contract’s existence are what would potentially be arbitrable. If litigation on
Counts I–IV demonstrates that there was no such “oral agreement,” then there would be nothing
to arbitrate because Counts V–VII would be rendered moot. Staying the litigated determination
regarding the existence of the “oral agreement” in favor of arbitrating issues that only arise if there
ever were such an agreement strikes the court as backwards. Arbitration should await that
determination, not the other way around.
      Accordingly, the Dondero/Dugaboy Defendants’ requests to stay the Note Adversary
Proceedings have no merit and are denied.
                                              ORDER
For the reasons stated in the above Memorandum Opinion and Order, the Arbitration Motions and
Stay Motions related thereto are DENIED.


                                       ### End of Order ###




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12/17/21, 4:47 PM21-03005-sgj Doc 130 Filed 12/17/21      Entered
                                              U.S. Bankruptcy          12/17/21
                                                              Court - Northern District17:28:09
                                                                                        of Texas Page 38 of 52
               Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 32 of 46 PageID 38
                                                                            SealedDocument, EXHIBITS, APPEAL


                                                   U.S. Bankruptcy Court
                                              Northern District of Texas (Dallas)
                                             Adversary Proceeding #: 21-03005-sgj

  Assigned to: Stacey G. Jernigan                                                 Date Filed: 01/22/21
  Lead BK Case: 19-34054
  Lead BK Title: Highland Capital Management, L.P.
  Lead BK Chapter: 11
  Demand: $23071000000
   Nature[s] of Suit: 02 Other (e.g. other actions that would have been brought in state court if unrelated to
                         bankruptcy)
                      11 Recovery of money/property - 542 turnover of property
                      13 Recovery of money/property - 548 fraudulent transfer
                      14 Recovery of money/property - other
                      91 Declaratory judgment


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               Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 33 of 46 PageID 39
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                                                                                  LEAD ATTORNEY


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               Case 3:21-cv-03162-K Document 1-1 Filed 12/17/21 Page 34 of 46 PageID 40
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     Filing Date                                                          Docket Text

                               1 (27 pgs; 5 docs) Adversary case 21-03005. Complaint by Highland Capital Management, L.P. against
                           NexPoint Advisors, L.P.. Fee Amount $350 (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
                           Adversary Cover Sheet). Nature(s) of suit: 02 (Other (e.g. other actions that would have been brought in
                           state court if unrelated to bankruptcy)). 11 (Recovery of money/property - 542 turnover of property).
   01/22/2021              (Annable, Zachery)

                             Receipt of filing fee for Complaint(21-03005-sgj) [cmp,cmp] ( 350.00). Receipt number 28437892,
   01/22/2021              amount $ 350.00 (re: Doc# 1). (U.S. Treasury)

   01/25/2021                 2 (2 pgs) Summons issued on NexPoint Advisors, L.P., Answer Due 2/24/2021, (Edmond, Michael)

                              3 (2 pgs) Scheduling order setting deadlines. Discovery and all exhibits except impeachment
                           documents: 45 days prior to Docket Call, pre-trial order: 7 calendar days prior to Docket Call, proposed
                           findings of fact and conclusions of law: 7 days prior to first scheduled docket call (RE: related
                           document(s)1 Complaint filed by Plaintiff Highland Capital Management, L.P.). Trial Docket Call date set
                           for 6/14/2021 at 01:30 PM at Dallas Judge Jernigan Ctrm. Trial will be held during the week of 6/21/2021.
   01/25/2021              Entered on 1/25/2021 (Edmond, Michael)


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                                                                                           of Texas    Page 41 of 52
            Case
   02/09/2021    3:21-cv-03162-K    Document      1-1    Filed   12/17/21         Page       35  of 46
                     4 (2 pgs) Summons service executed on NexPoint Advisors, L.P. 1/29/2021 (Annable,  PageID 41
                                                                                                             Zachery)

                             5 (5 pgs) Certificate of service re: Summons Service Executed on NexPoint Advisors, L.P. Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)4 Summons service executed on
   02/12/2021             NexPoint Advisors, L.P. 1/29/2021). (Kass, Albert)

   03/01/2021                6 (8 pgs) Answer to complaint filed by NexPoint Advisors, L.P.. (Vasek, Julian)

                            7 (3 pgs) Motion to withdraw as attorney (as counsel to NexPoint Advisors, L.P.) filed by Defendant
   03/08/2021             NexPoint Advisors, L.P. (Hogewood, A.)

                             8 (5 pgs) Stipulation by Highland Capital Management, L.P. and NexPoint Advisors, L.P.. filed by
                          Plaintiff Highland Capital Management, L.P. (RE: related document(s)3 Standing scheduling order in an
   03/08/2021             adversary proceeding). (Annable, Zachery)

                             9 (5 pgs) Stipulation by Highland Capital Management, L.P. and NexPoint Advisors, L.P.. filed by
                          Plaintiff Highland Capital Management, L.P. (RE: related document(s)3 Standing scheduling order in an
   03/09/2021             adversary proceeding). (Annable, Zachery)

                             10 (5 pgs) Certificate of service re: Stipulation and Proposed Scheduling Order Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)8 Stipulation by Highland Capital Management,
                          L.P. and NexPoint Advisors, L.P.. filed by Plaintiff Highland Capital Management, L.P. (RE: related
                          document(s)3 Standing scheduling order in an adversary proceeding). filed by Plaintiff Highland Capital
   03/11/2021             Management, L.P.). (Kass, Albert)

                             11 (5 pgs) Certificate of service re: Amended Stipulation and Proposed Scheduling Order Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)9 Stipulation by Highland Capital
                          Management, L.P. and NexPoint Advisors, L.P.. filed by Plaintiff Highland Capital Management, L.P. (RE:
                          related document(s)3 Standing scheduling order in an adversary proceeding). filed by Plaintiff Highland
   03/12/2021             Capital Management, L.P.). (Kass, Albert)

                              12 (2 pgs) Order granting K&L Gates LLP's motion to withdraw as counsel to Nexpoint Advisors, L.P.
   03/16/2021             (related document # 7) Entered on 3/16/2021. (Okafor, M.)

                             13 (9 pgs) Order approving amended stipulation regarding scheduling order (RE: related document(s)1
                          Complaint and 9 Stipulation). Trial Docket Call date set for 8/9/2021 at 01:30 PM Dallas Judge Jernigan
   03/16/2021             Ctrm. Entered on 3/16/2021 (Okafor, M.)

                             14 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)12 Order granting
                          K&L Gates LLP's motion to withdraw as counsel to Nexpoint Advisors, L.P. (related document 7) Entered
   03/18/2021             on 3/16/2021. (Okafor, M.)) No. of Notices: 2. Notice Date 03/18/2021. (Admin.)

                             15 (11 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)13 Order approving
                          amended stipulation regarding scheduling order (RE: related document(s)1 Complaint and 9 Stipulation).
                          Trial Docket Call date set for 8/9/2021 at 01:30 PM Dallas Judge Jernigan Ctrm. Entered on 3/16/2021
   03/18/2021             (Okafor, M.)) No. of Notices: 2. Notice Date 03/18/2021. (Admin.)

                             16 (3 pgs) Notice of Appearance and Request for Notice by Paige Holden Montgomery filed by
   04/06/2021             Creditor Committee Official Committee of Unsecured Creditors. (Montgomery, Paige)

                            17 (3 pgs) Notice of Appearance and Request for Notice by Juliana Hoffman filed by Creditor
   04/06/2021             Committee Official Committee of Unsecured Creditors. (Hoffman, Juliana)

   04/08/2021                18 (5 pgs) Certificate of service re: 1) Notice of Appearance and Request for Service by Sidley Austin
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                    4/15
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               Case 3:21-cv-03162-K
                      LLP on Behalf of the Official Committee of Unsecured Creditors; and 2) Notice of PageID
                                          Document     1-1    Filed   12/17/21         Page       36  of 46          42and
                                                                                                             Appearance
                          Request for Service by Juliana L. Hoffman, Esq. on Behalf of the Official Committee of Unsecured
                          Creditors Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)16 Notice of
                          Appearance and Request for Notice by Paige Holden Montgomery filed by Creditor Committee Official
                          Committee of Unsecured Creditors. filed by Creditor Committee Official Committee of Unsecured
                          Creditors, 17 Notice of Appearance and Request for Notice by Juliana Hoffman filed by Creditor
                          Committee Official Committee of Unsecured Creditors. filed by Creditor Committee Official Committee
                          of Unsecured Creditors). (Kass, Albert)

                            19 (3 pgs) Motion for withdrawal of reference. Fee amount $188, filed by Defendant NexPoint
   04/13/2021             Advisors, L.P. (Rukavina, Davor)

                            20 (17 pgs) Brief in support filed by Defendant NexPoint Advisors, L.P. (RE: related document(s)19
   04/13/2021             Motion for withdrawal of reference. Fee amount $188,). (Rukavina, Davor)

                             21 (259 pgs; 7 docs) Support/supplemental document (Appendix in Support of Defendant's Motion to
                          Withdraw Reference) filed by Defendant NexPoint Advisors, L.P. (RE: related document(s)19 Motion for
                          withdrawal of reference. Fee amount $188,). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
   04/13/2021             Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6) (Rukavina, Davor)

                            Receipt of filing fee for Motion for withdrawal of reference(21-03005-sgj) [motion,mwdref] ( 188.00).
   04/13/2021             Receipt number 28636913, amount $ 188.00 (re: Doc# 19). (U.S. Treasury)

                             22 (3 pgs) Notice of hearing filed by Defendant NexPoint Advisors, L.P. (RE: related document(s)19
                          Motion for withdrawal of reference filed by Defendant NexPoint Advisors, L.P.). Hearing to be held on
   04/13/2021             5/25/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga for 19, (Rukavina, Davor)

                             24 (283 pgs) Notice of transmission of motion to withdraw reference re: Civil Case # 3:21-cv-00880-C
                          (RE: related document(s)19 Motion for withdrawal of reference. filed by Defendant NexPoint Advisors,
   04/18/2021             L.P. filed by Defendant NexPoint Advisors, L.P.) (Whitaker, Sheniqua)

                            25 (18 pgs) Response opposed to (related document(s): 19 Motion for withdrawal of reference. Fee
                          amount $188, filed by Defendant NexPoint Advisors, L.P.) filed by Plaintiff Highland Capital
   05/04/2021             Management, L.P.. (Annable, Zachery)

                             26 (5 pgs) Certificate of service re: Plaintiff's Opposition to Defendant's Motion to Withdraw the
                          Reference Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)25 Response
                          opposed to (related document(s): 19 Motion for withdrawal of reference. Fee amount $188, filed by
                          Defendant NexPoint Advisors, L.P.) filed by Plaintiff Highland Capital Management, L.P.. filed by
   05/05/2021             Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                            27 (9 pgs) Reply to (related document(s): 25 Response filed by Plaintiff Highland Capital
   05/18/2021             Management, L.P.) filed by Defendant NexPoint Advisors, L.P.. (Rukavina, Davor)

                             28 (120 pgs; 21 docs) Witness and Exhibit List filed by Plaintiff Highland Capital Management, L.P.
                          (RE: related document(s)19 Motion for withdrawal of reference. Fee amount $188,, 25 Response).
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7
                          Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14
                          Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit
   05/21/2021             20) (Annable, Zachery)

                             29 (600 pgs) Amended Witness and Exhibit List for Hearing on May 25, 2021 filed by Plaintiff
                          Highland Capital Management, L.P. (RE: related document(s)28 List (witness/exhibit/generic)). (Hayward,
   05/24/2021             Melissa)


https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                     5/15
            Case
12/17/21, 4:4721-03005-sgj Doc 130 Filed 12/17/21
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                                                  U.S. Bankruptcy          12/17/21
                                                                  Court - Northern District17:28:09
                                                                                            of Texas    Page 43 of 52
            Case
   05/25/2021    3:21-cv-03162-K      Document     1-1    Filed   12/17/21         Page       37  of
                     30 Hearing held on 5/25/2021. (RE: related document(s)19 Motion for withdrawal  46  PageID   43 filed by
                                                                                                           of reference,
                          Defendant NexPoint Advisors, L.P., (Appearances: D. Rukavina for NexPoint; G. Demo; J. Pomeranz, and
                          J. Morris for Debtor. Evidentiary status conference. Court will make Report and Recommendation to
                          District Court that it withdraw reference at such time as court determines that matter is trial ready, with
                          bankruptcy court presiding over pretrial matters.) (Edmond, Michael)

                              31 (1 pg) Request for transcript regarding a hearing held on 5/25/2021. The requested turn-around time
   05/26/2021             is hourly. (Edmond, Michael)

                             32 (5 pgs) Certificate of service re: Debtors Witness and Exhibit List with Respect to Hearing to be
                          Held on May 25, 2021 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)28
                          Witness and Exhibit List filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)19
                          Motion for withdrawal of reference. Fee amount $188,, 25 Response). (Attachments: # 1 Exhibit 1 # 2
                          Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 #
                          10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit
                          16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20) filed by Plaintiff Highland Capital
   05/26/2021             Management, L.P.). (Kass, Albert)

                              33 (86 pgs) Transcript regarding Hearing Held 05/25/2021 (86 pages) RE: Status Conference. THIS
                          TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90
                          DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 08/25/2021. Until that time
                          the transcript may be viewed at the Clerk's Office or a copy may be obtained from the official court
                          transcriber. Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
                          number 972-786-3063. (RE: related document(s) 30 Hearing held on 5/25/2021. (RE: related
                          document(s)19 Motion for withdrawal of reference, filed by Defendant NexPoint Advisors, L.P.,
                          (Appearances: D. Rukavina for NexPoint; G. Demo; J. Pomeranz, and J. Morris for Debtor. Evidentiary
                          status conference. Court will make Report and Recommendation to District Court that it withdraw
                          reference at such time as court determines that matter is trial ready, with bankruptcy court presiding over
   05/27/2021             pretrial matters.)). Transcript to be made available to the public on 08/25/2021. (Rehling, Kathy)

                             34 (3 pgs) Certificate of service re: Debtor's Amended Witness and Exhibit List with Respect to
                          Hearing to be Held on May 25, 2021 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)29 Amended Witness and Exhibit List for Hearing on May 25, 2021 filed by Plaintiff
                          Highland Capital Management, L.P. (RE: related document(s)28 List (witness/exhibit/generic)). filed by
   05/27/2021             Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                              35 (55 pgs; 4 docs) Motion for leave to Amend Answer (related document(s) 6 Answer to complaint)
                          filed by Defendant NexPoint Advisors, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C)
   06/09/2021             (Rukavina, Davor)

                             36 (1 pg) Clerk's correspondence requesting an order from attorney for defendant. (RE: related
                          document(s)35 Motion for leave to Amend Answer (related document(s) 6 Answer to complaint) filed by
                          Defendant NexPoint Advisors, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C) filed by
   06/21/2021             Defendant NexPoint Advisors, L.P.) Responses due by 7/6/2021. (Ecker, C.)

                             37 (17 pgs; 2 docs) Motion for protective order filed by Defendant NexPoint Advisors, L.P.
   06/30/2021             (Attachments: # 1 Proposed Order) (Vasek, Julian)

                              38 (2 pgs) Notice of hearing filed by Defendant NexPoint Advisors, L.P. (RE: related document(s)37
                          Motion for protective order filed by Defendant NexPoint Advisors, L.P.). Hearing to be held on 8/24/2021
   07/02/2021             at 01:30 PM Dallas Judge Jernigan Ctrm for 37, (Vasek, Julian)

                             39 (2 pgs) Amended Notice of hearing filed by Defendant NexPoint Advisors, L.P. (RE: related
                          document(s)37 Motion for protective order filed by Defendant NexPoint Advisors, L.P.). Hearing to be
   07/06/2021             held on 8/24/2021 at 01:30 PM Dallas Judge Jernigan Ctrm for 37, (Vasek, Julian)


https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                   6/15
            Case
12/17/21, 4:4721-03005-sgj Doc 130 Filed 12/17/21
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                                                 U.S. Bankruptcy          12/17/21
                                                                 Court - Northern District17:28:09
                                                                                           of Texas    Page 44 of 52
            Case
   07/08/2021    3:21-cv-03162-K     Document     1-1    Filed   12/17/21         Page       38  of 46
                     40 (12 pgs) Report and recommendation to the U.S. District Court by U.S. BankruptcyPageIDJudge
                                                                                                                44
                          proposing that it: (A) grant Defendant's motion to withdraw the reference at such time as Bankruptcy
                          Court certifies that action is trial ready: and (B) defer pretrial matters to Bankruptcy Court. (RE: related
                          document(s)19 Motion for withdrawal of reference filed by Defendant NexPoint Advisors, L.P.). Entered
                          on 7/8/2021 (Okafor, M.)

                              42 (13 pgs) Notice of transmission of report and recommendation in re: motion to withdraw reference
                          re: Civil Case # 3:21CV00880C (RE: related document(s)40 Report and recommendation to the U.S.
                          District Court by U.S. Bankruptcy Judge proposing that it: (A) grant Defendant's motion to withdraw the
                          reference at such time as Bankruptcy Court certifies that action is trial ready: and (B) defer pretrial matters
                          to Bankruptcy Court. (RE: related document(s)19 Motion for withdrawal of reference filed by Defendant
   07/09/2021             NexPoint Advisors, L.P.). Entered on 7/8/2021 (Okafor, M.)) (Whitaker, Sheniqua)

                             43 (14 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)40 Report and
                          recommendation to the U.S. District Court by U.S. Bankruptcy Judge proposing that it: (A) grant
                          Defendant's motion to withdraw the reference at such time as Bankruptcy Court certifies that action is trial
                          ready: and (B) defer pretrial matters to Bankruptcy Court. (RE: related document(s)19 Motion for
                          withdrawal of reference filed by Defendant NexPoint Advisors, L.P.). Entered on 7/8/2021 (Okafor, M.))
   07/10/2021             No. of Notices: 2. Notice Date 07/10/2021. (Admin.)


                                 44 (1 pg) ***5/25/2021 HEARING***PDF with attached Audio File. Court Date & Time
                          [05/25/2021 01:34:16 PM]. File Size [ 28587 KB ]. Run Time [ 02:02:10 ]. (admin). Modified on
   07/15/2021             7/15/2021 (Jeng, Hawaii).

                             45 (2 pgs) Certificate of No Objection filed by Defendant NexPoint Advisors, L.P. (RE: related
                          document(s)35 Motion for leave to Amend Answer (related document(s) 6 Answer to complaint)). (Vasek,
   07/19/2021             Julian)

                             46 (11 pgs) Subpoena on PricewaterhouseCoopers filed by Plaintiff Highland Capital Management,
   07/26/2021             L.P.. (Annable, Zachery)

                             47 (2 pgs) Order granting defendant's motion for leave to file amended answer (related document # 35)
   07/29/2021             Entered on 7/29/2021. (Okafor, M.)

                             48 (13 pgs) Certificate of service re: Plaintiffs Notice of Service of a Subpoena to
                          PricewaterhouseCoopers Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)46 Subpoena on PricewaterhouseCoopers filed by Plaintiff Highland Capital Management,
   07/29/2021             L.P.. filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                             49 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)47 Order granting
                          defendant's motion for leave to file amended answer (related document 35) Entered on 7/29/2021. (Okafor,
   07/31/2021             M.)) No. of Notices: 1. Notice Date 07/31/2021. (Admin.)

   08/09/2021                50 (8 pgs) Amended answer to complaint filed by Defendant NexPoint Advisors, L.P.. (Vasek, Julian)

                            51 (8 pgs) Response opposed to (related document(s): 37 Motion for protective order filed by
                          Defendant NexPoint Advisors, L.P.) filed by Plaintiff Highland Capital Management, L.P.. (Annable,
   08/09/2021             Zachery)

                            52 (4 pgs; 2 docs) Declaration re: (Declaration of John A. Morris in Support of the Debtor's
                          Opposition to Motion for Entry of Protective Order) filed by Plaintiff Highland Capital Management, L.P.
   08/09/2021             (RE: related document(s)51 Response). (Attachments: # 1 Exhibit 1) (Annable, Zachery)

   08/09/2021                53 (11 pgs) Objection to (related document(s): 37 Motion for protective order filed by Defendant

https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                       7/15
            Case
12/17/21, 4:47 PM21-03005-sgj Doc 130 Filed 12/17/21               Entered
                                                       U.S. Bankruptcy          12/17/21
                                                                       Court - Northern District17:28:09
                                                                                                 of Texas    Page 45 of 52
               Case 3:21-cv-03162-K      Document       1-1    Filed   12/17/21         Page       39  of
                      NexPoint Advisors, L.P.) filed by Creditor Committee Official Committee of Unsecured46  PageID 45
                                                                                                                  Creditors.
                          (Montgomery, Paige)

                             54 (6 pgs) Certificate of service re: 1) Debtors Opposition to Motion for Entry of Protective Order; 2)
                          Declaration of John A. Morris in Support of the Debtors Opposition to Motion for Entry of Protective
                          Order; and 3) The Official Committee of Unsecured Creditor and the Litigation Advisor's Objection to
                          Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P.'s Motion for Entry of
                          Protective Order Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)51
                          Response opposed to (related document(s): 37 Motion for protective order filed by Defendant NexPoint
                          Advisors, L.P.) filed by Plaintiff Highland Capital Management, L.P.. filed by Plaintiff Highland Capital
                          Management, L.P., 52 Declaration re: (Declaration of John A. Morris in Support of the Debtor's
                          Opposition to Motion for Entry of Protective Order) filed by Plaintiff Highland Capital Management, L.P.
                          (RE: related document(s)51 Response). (Attachments: # 1 Exhibit 1) filed by Plaintiff Highland Capital
                          Management, L.P., 53 Objection to (related document(s): 37 Motion for protective order filed by
                          Defendant NexPoint Advisors, L.P.) filed by Creditor Committee Official Committee of Unsecured
   08/12/2021             Creditors. filed by Creditor Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                             55 (36 pgs; 4 docs) Motion for leave (Debtor's Unopposed Motion for Leave to Serve and File
                          Amended Complaint) (related document(s) 1 Complaint) filed by Plaintiff Highland Capital Management,
   08/17/2021             L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C) (Annable, Zachery)

                             56 (5 pgs) Certificate of service re: Debtor's Unopposed Motion for Leave to Serve and File Amended
                          Complaint Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)55 Motion for
                          leave (Debtor's Unopposed Motion for Leave to Serve and File Amended Complaint) (related document(s)
                          1 Complaint) filed by Plaintiff Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2
   08/20/2021             Exhibit B # 3 Exhibit C) filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                            57 (2 pgs) Order granting Debtor's Unopposed Motion for Leave to Serve and File Amended
   08/23/2021             Complaint (related document # 55) Entered on 8/23/2021. (Okafor, M.)

   08/23/2021                58 (14 pgs) Agreed Protective Order (related document # 37) Entered on 8/23/2021. (Okafor, M.)

                             59 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)57 Order granting
                          Debtor's Unopposed Motion for Leave to Serve and File Amended Complaint (related document 55)
   08/25/2021             Entered on 8/23/2021. (Okafor, M.)) No. of Notices: 2. Notice Date 08/25/2021. (Admin.)

                             60 (16 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)58 Agreed
                          Protective Order (related document 37) Entered on 8/23/2021. (Okafor, M.)) No. of Notices: 2. Notice
   08/25/2021             Date 08/25/2021. (Admin.)

                             61 (5 pgs) Certificate of service re: 1) Order Granting Debtors Unopposed Motion for Leave to Serve
                          and File Amended Complaint; and 2) Agreed Protective Order Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)57 Order granting Debtor's Unopposed Motion for Leave to Serve
                          and File Amended Complaint (related document 55) Entered on 8/23/2021. (Okafor, M.), 58 Agreed
   08/26/2021             Protective Order (related document 37) Entered on 8/23/2021. (Okafor, M.)). (Kass, Albert)

                             62 (5 pgs) Stipulation by Highland Capital Management, L.P. and NexPoint Advisors, L.P.. filed by
                          Plaintiff Highland Capital Management, L.P. (RE: related document(s)3 Standing scheduling order in an
   08/27/2021             adversary proceeding, 13 Order to set hearing). (Annable, Zachery)

   08/27/2021                63 (73 pgs; 6 docs) Amended complaint by Zachery Z. Annable on behalf of Highland Capital
                          Management, L.P. against The Dugaboy Investment Trust, Nancy Dondero, James Dondero, NexPoint
                          Advisors, L.P. Adding nature(s) of suit. (RE: related document(s)1 Adversary case 21-03005. Complaint
                          by Highland Capital Management, L.P. against NexPoint Advisors, L.P.. Fee Amount $350 (Attachments:
                          # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Adversary Cover Sheet). Nature(s) of suit: 02 (Other (e.g.
                          other actions that would have been brought in state court if unrelated to bankruptcy)). 11 (Recovery of
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                     8/15
            Case
12/17/21, 4:47 PM21-03005-sgj Doc 130 Filed 12/17/21              Entered
                                                      U.S. Bankruptcy          12/17/21
                                                                      Court - Northern District17:28:09
                                                                                                of Texas    Page 46 of 52
               Case 3:21-cv-03162-K      Document      1-1    Filed   12/17/21         Page       40  of 46  PageID 46
                      money/property - 542 turnover of property). filed by Plaintiff Highland Capital Management,    L.P.).
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Adversary Proceeding Cover
                          Sheet) (Annable, Zachery)

   09/01/2021                64 (13 pgs) Answer to complaint filed by NexPoint Advisors, L.P.. (Rukavina, Davor)

                             65 (14 pgs) Certificate of service re: 1) Stipulation and Agreed Order Governing Discovery and Other
                          Pre-Trial Issues; and 2) Amended Complaint for (I) Breach of Contract, (II) Turnover of Property, (III)
                          Fraudulent Transfer, and (IV) Breach of Fiduciary Duty Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)62 Stipulation by Highland Capital Management, L.P. and NexPoint
                          Advisors, L.P.. filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)3 Standing
                          scheduling order in an adversary proceeding, 13 Order to set hearing). filed by Plaintiff Highland Capital
                          Management, L.P., 63 Amended complaint by Zachery Z. Annable on behalf of Highland Capital
                          Management, L.P. against The Dugaboy Investment Trust, Nancy Dondero, James Dondero, NexPoint
                          Advisors, L.P. Adding nature(s) of suit. (RE: related document(s)1 Adversary case 21-03005. Complaint
                          by Highland Capital Management, L.P. against NexPoint Advisors, L.P.. Fee Amount $350 (Attachments:
                          # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Adversary Cover Sheet). Nature(s) of suit: 02 (Other (e.g.
                          other actions that would have been brought in state court if unrelated to bankruptcy)). 11 (Recovery of
                          money/property - 542 turnover of property). filed by Plaintiff Highland Capital Management, L.P.).
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Adversary Proceeding Cover
   09/01/2021             Sheet) filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                            66 (27 pgs) Motion to compel Arbitration. and Stay Litigation filed by Defendants James Dondero,
   09/01/2021             Nancy Dondero, The Dugaboy Investment Trust (Deitsch-Perez, Deborah)

                             67 (101 pgs) Support/supplemental documentAppendix in Support of Defendants' Motion to Compel
                          Arbitration and Stay Litigation filed by Defendants James Dondero, Nancy Dondero, The Dugaboy
                          Investment Trust (RE: related document(s)66 Motion to compel Arbitration. and Stay Litigation).
   09/01/2021             (Deitsch-Perez, Deborah)

                             68 (33 pgs) Motion to dismiss adversary proceeding (Plaintiff's Fifth, Sixth, and Seventh Claims for
                          Relief) filed by Defendants James Dondero, Nancy Dondero, The Dugaboy Investment Trust (Deitsch-
   09/01/2021             Perez, Deborah)

                            69 (27 pgs) Motion for leave to stay litigation filed by Defendants James Dondero , Nancy Dondero ,
   09/01/2021             The Dugaboy Investment Trust (Ecker, C.) (Entered: 09/02/2021)

                             70 (9 pgs) Order approving stipulation and agreed order governing discovery and other pre-trial issues
                          (RE: related document(s)62 Stipulation filed by Plaintiff Highland Capital Management, L.P.). Entered on
   09/07/2021             9/7/2021 (Okafor, M.)

                              71 (11 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)70 Order approving
                          stipulation and agreed order governing discovery and other pre-trial issues (RE: related document(s)62
                          Stipulation filed by Plaintiff Highland Capital Management, L.P.). Entered on 9/7/2021 (Okafor, M.)) No.
   09/09/2021             of Notices: 2. Notice Date 09/09/2021. (Admin.)

                             72 (6 pgs) Certificate of service re: Order Approving Stipulation and Agreed Order Governing
                          Discovery and Other Pre-Trial Issues Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)70 Order approving stipulation and agreed order governing discovery and other pre-trial
                          issues (RE: related document(s)62 Stipulation filed by Plaintiff Highland Capital Management, L.P.).
   09/10/2021             Entered on 9/7/2021 (Okafor, M.)). (Kass, Albert)

   09/15/2021               73 (8 pgs; 2 docs) Notice of hearing filed by Defendant James Dondero (RE: related document(s)66
                          Motion to compel filed by Defendant James Dondero, Defendant Nancy Dondero, Defendant The
                          Dugaboy Investment Trust, 68 Motion to dismiss adversary proceeding filed by Defendant James
                          Dondero, Defendant Nancy Dondero, Defendant The Dugaboy Investment Trust, 69 Motion for leave filed
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                   9/15
            Case
12/17/21, 4:47 PM21-03005-sgj Doc 130 Filed 12/17/21            Entered
                                                    U.S. Bankruptcy          12/17/21
                                                                    Court - Northern District17:28:09
                                                                                              of Texas    Page 47 of 52
               Case 3:21-cv-03162-K
                      by Defendant James Dondero, Defendant Nancy Dondero, Defendant The DugaboyPageID
                                         Document    1-1    Filed   12/17/21         Page       41  of 46          47Trust).
                                                                                                            Investment
                          Hearing to be held on 11/9/2021 at 01:30 PM at https://us-courts.webex.com/meet/jerniga for 68 and for
                          66 and for 69, (Attachments: # 1 Webex Instructions)(Assink, Bryan)

                             74 (4 pgs) Response opposed to (related document(s): 68 Motion to dismiss adversary proceeding
                          (Plaintiff's Fifth, Sixth, and Seventh Claims for Relief) filed by Defendant James Dondero, Defendant
                          Nancy Dondero, Defendant The Dugaboy Investment Trust) filed by Plaintiff Highland Capital
   09/28/2021             Management, L.P.. (Annable, Zachery)

                             75 (33 pgs) Brief in support filed by Plaintiff Highland Capital Management, L.P. (RE: related
   09/28/2021             document(s)74 Response). (Annable, Zachery)

                             76 (4 pgs) Response opposed to (related document(s): 66 Motion to compel Arbitration. and Stay
                          Litigation filed by Defendant James Dondero, Defendant Nancy Dondero, Defendant The Dugaboy
                          Investment Trust, 69 Motion for leave filed by Defendant James Dondero, Defendant Nancy Dondero,
                          Defendant The Dugaboy Investment Trust) filed by Plaintiff Highland Capital Management, L.P..
   09/28/2021             (Annable, Zachery)

                             77 (26 pgs) Brief in support filed by Plaintiff Highland Capital Management, L.P. (RE: related
   09/28/2021             document(s)76 Response). (Annable, Zachery)

                            78 (80 pgs; 4 docs) Declaration re: (Declaration of John A. Morris in Support of Debtor's Objection to
                          Motion to Compel Arbitration and Stay Litigation) filed by Plaintiff Highland Capital Management, L.P.
                          (RE: related document(s)76 Response). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C)
   09/28/2021             (Annable, Zachery)

                            79 (5 pgs) Notice to take deposition of NexPoint Advisors, L.P. filed by Plaintiff Highland Capital
   10/04/2021             Management, L.P.. (Annable, Zachery)

                             80 (6 pgs) Certificate of service re: Documents Served on September 28, 2021 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)74 Response opposed to (related document(s): 68
                          Motion to dismiss adversary proceeding (Plaintiff's Fifth, Sixth, and Seventh Claims for Relief) filed by
                          Defendant James Dondero, Defendant Nancy Dondero, Defendant The Dugaboy Investment Trust) filed
                          by Plaintiff Highland Capital Management, L.P.. filed by Plaintiff Highland Capital Management, L.P., 75
                          Brief in support filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)74
                          Response). filed by Plaintiff Highland Capital Management, L.P., 76 Response opposed to (related
                          document(s): 66 Motion to compel Arbitration. and Stay Litigation filed by Defendant James Dondero,
                          Defendant Nancy Dondero, Defendant The Dugaboy Investment Trust, 69 Motion for leave filed by
                          Defendant James Dondero, Defendant Nancy Dondero, Defendant The Dugaboy Investment Trust) filed
                          by Plaintiff Highland Capital Management, L.P.. filed by Plaintiff Highland Capital Management, L.P., 77
                          Brief in support filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)76
                          Response). filed by Plaintiff Highland Capital Management, L.P., 78 Declaration re: (Declaration of John
                          A. Morris in Support of Debtor's Objection to Motion to Compel Arbitration and Stay Litigation) filed by
                          Plaintiff Highland Capital Management, L.P. (RE: related document(s)76 Response). (Attachments: # 1
                          Exhibit A # 2 Exhibit B # 3 Exhibit C) filed by Plaintiff Highland Capital Management, L.P.). (Kass,
   10/05/2021             Albert)

                              81 (6 pgs) Certificate of service re: Plaintiff's Notice of Rule 30(b)(6) Deposition to NexPoint
                          Advisors, L.P. Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)79 Notice
                          to take deposition of NexPoint Advisors, L.P. filed by Plaintiff Highland Capital Management, L.P.. filed
   10/07/2021             by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                            82 (5 pgs) Notice to take deposition of NexPoint Advisors, L.P. filed by Plaintiff Highland Capital
   10/08/2021             Management, L.P.. (Annable, Zachery)

   10/13/2021                83 (5 pgs) Certificate of service re: Plaintiff's Amended Notice of Rule 30(b)(6) Deposition to
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                    10/15
            Case
12/17/21, 4:47 PM21-03005-sgj Doc 130 Filed 12/17/21               Entered
                                                       U.S. Bankruptcy          12/17/21
                                                                       Court - Northern District17:28:09
                                                                                                 of Texas    Page 48 of 52
               Case 3:21-cv-03162-K
                      NexPoint Advisors, L.P. Filed by Claims Agent Kurtzman Carson Consultants LLCPageID
                                         Document       1-1    Filed   12/17/21         Page       42  of 46   (related 48
                          document(s)82 Notice to take deposition of NexPoint Advisors, L.P. filed by Plaintiff Highland Capital
                          Management, L.P.. filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                            84 (5 pgs) Notice to take deposition of NexPoint Advisors, L.P. filed by Plaintiff Highland Capital
   10/28/2021             Management, L.P.. (Annable, Zachery)

                            85 (3 pgs) Support/supplemental document(Errata to Highland's Memorandum of Law in Support of
                          Opposition to Motion to Dismiss Fifth, Sixth, and Seventh Claims for Relief) filed by Plaintiff Highland
   10/28/2021             Capital Management, L.P. (RE: related document(s)75 Brief). (Annable, Zachery)

                             86 (445 pgs; 5 docs) Motion to extend time to designate expert (RE: related document(s)70 Order
                          (generic)) filed by Defendant NexPoint Advisors, L.P. (Attachments: # 1 Declaration # 2 Exhibit A # 3
   10/29/2021             Exhibit B # 4 Exhibit C) (Vasek, Julian)

                             87 (10 pgs) Certificate of service re: 1) Plaintiffs Second Amended Notice of Rule 30(b)(6) Deposition
                          to NexPoint Advisors, L.P.; and 2) Errata to Highland's Memorandum of Law in Support of Opposition to
                          Motion to Dismiss Fifth, Sixth, and Seventh Claims for Relief Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)84 Notice to take deposition of NexPoint Advisors, L.P. filed by
                          Plaintiff Highland Capital Management, L.P.. filed by Plaintiff Highland Capital Management, L.P., 85
                          Support/supplemental document(Errata to Highland's Memorandum of Law in Support of Opposition to
                          Motion to Dismiss Fifth, Sixth, and Seventh Claims for Relief) filed by Plaintiff Highland Capital
                          Management, L.P. (RE: related document(s)75 Brief). filed by Plaintiff Highland Capital Management,
   11/03/2021             L.P.). (Kass, Albert)

                            88 (13 pgs) Reply to (related document(s): 76 Response filed by Plaintiff Highland Capital
                          Management, L.P.) filed by Defendants James Dondero, Nancy Dondero, The Dugaboy Investment Trust.
   11/05/2021             (Deitsch-Perez, Deborah)

                            89 (18 pgs) Reply to (related document(s): 74 Response filed by Plaintiff Highland Capital
                          Management, L.P.) filed by Defendants James Dondero, Nancy Dondero, The Dugaboy Investment Trust.
   11/05/2021             (Deitsch-Perez, Deborah)

                             90 (467 pgs; 15 docs) Witness and Exhibit List filed by Defendants James Dondero, Nancy Dondero,
                          The Dugaboy Investment Trust (RE: related document(s)66 Motion to compel Arbitration. and Stay
                          Litigation, 68 Motion to dismiss adversary proceeding (Plaintiff's Fifth, Sixth, and Seventh Claims for
                          Relief)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 #
                          7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 #
   11/05/2021             14 Exhibit 14) (Deitsch-Perez, Deborah)

                             91 (2 pgs) Notice of hearing filed by Defendant NexPoint Advisors, L.P. (RE: related document(s)86
                          Motion to extend/shorten time filed by Defendant NexPoint Advisors, L.P.). Hearing to be held on
   11/08/2021             12/13/2021 at 10:30 AM Dallas Judge Jernigan Ctrm for 86, (Vasek, Julian)

                             92 (1 pg) Court admitted exhibits date of hearing November 9, 2021 (RE: related document(s)66
                          Motion to compel Arbitration, and Stay Litigation filed by Defendants James Dondero, Nancy Dondero,
                          The Dugaboy Investment Trust filed by Defendant James Dondero, Defendant Nancy Dondero, Defendant
                          The Dugaboy Investment Trust, 68 Motion to dismiss adversary proceeding (Plaintiff's Fifth, Sixth, and
                          Seventh Claims for Relief) filed by Defendants James Dondero, Nancy Dondero, The Dugaboy Investment
                          Trust filed by Defendant James Dondero, Defendant Nancy Dondero, Defendant The Dugaboy Investment
                          Trust, 69 Motion for leave to stay litigation filed by Defendants James Dondero , Nancy Dondero , The
                          Dugaboy Investment Trust, filed by Defendant James Dondero, Defendant Nancy Dondero, Defendant
                          The Dugaboy Investment Trust) (COURT ADMITTED MOVANT'S EXHIBIT'S #1 THROUGH #14 BY
   11/09/2021             DEBORAH DEITSCH-PEREZ). (Edmond, Michael) (Entered: 11/10/2021)

   11/09/2021                93 Hearing held on 11/9/2021. (RE: related document(s)66 Motion to compel Arbitration and Stay
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                   11/15
            Case
12/17/21, 4:47 PM21-03005-sgj Doc 130 Filed 12/17/21               Entered
                                                       U.S. Bankruptcy          12/17/21
                                                                       Court - Northern District17:28:09
                                                                                                 of Texas    Page 49 of 52
               Case 3:21-cv-03162-K        Document     1-1    Filed   12/17/21         Page       43  of
                      Litigation filed by Defendants James Dondero, Nancy Dondero, The Dugaboy Investment 46  PageID 49
                                                                                                                   Trust.)
                          (Appearances: J. Pomeranz, J. Morris, J. Kroop for Plaintiff; D. Deitsch-Perez and M. Aigen, advocating
                          for all Defendants; D. Draper for Dugaboy; T. Berghman for NexPoint Advisors. Evidentiary hearing.
                          Court took matter under advisement and expects to give parties a bench ruling through courtroom deputy
                          on 11/12/21.) (Edmond, Michael) (Entered: 11/12/2021)

                             94 Hearing held on 11/9/2021. (RE: related document(s)68 Motion to dismiss adversary proceeding
                          (Plaintiff's Fifth, Sixth, and Seventh Claims for Relief), filed by Defendants James Dondero, Nancy
                          Dondero, The Dugaboy Investment Trust.) (Appearances: J. Pomeranz, J. Morris, J. Kroop for Plaintiff; D.
                          Deitsch-Perez and M. Aigen, advocating for all Defendants; D. Draper for Dugaboy; T. Berghman for
                          NexPoint Advisors. Nonevidentiary hearing. Court took matter under advisement and expects to give
   11/09/2021             parties a bench ruling through courtroom deputy on 11/12/21.) (Edmond, Michael) (Entered: 11/12/2021)

                             95 Hearing held on 11/9/2021. (RE: related document(s)69 Motion for leave to stay litigation filed by
                          Defendants James Dondero , Nancy Dondero , The Dugaboy Investment Trust.) (Appearances: J.
                          Pomeranz, J. Morris, J. Kroop for Plaintiff; D. Deitsch-Perez and M. Aigen, advocating for all Defendants;
                          D. Draper for Dugaboy; T. Berghman for NexPoint Advisors. Nonevidentiary hearing. Motion denied.
   11/09/2021             Counsel should upload order.) (Edmond, Michael) (Entered: 11/12/2021)

                              96 (1 pg) Request for transcript regarding a hearing held on 11/9/2021. The requested turn-around time
   11/15/2021             is hourly. (Edmond, Michael)

                              97 (127 pgs) Transcript regarding Hearing Held 11/09/2021 (127 pages) RE: Motion to Compel,
                          Motion to Dismiss, and Motion to Stay. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
                          RELEASE DATE IS 02/14/2022. Until that time the transcript may be viewed at the Clerk's Office or a
                          copy may be obtained from the official court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related document(s) 93
                          Hearing held on 11/9/2021. (RE: related document(s)66 Motion to compel Arbitration and Stay Litigation
                          filed by Defendants James Dondero, Nancy Dondero, The Dugaboy Investment Trust.) (Appearances: J.
                          Pomeranz, J. Morris, J. Kroop for Plaintiff; D. Deitsch-Perez and M. Aigen, advocating for all Defendants;
                          D. Draper for Dugaboy; T. Berghman for NexPoint Advisors. Evidentiary hearing. Court took matter
                          under advisement and expects to give parties a bench ruling through courtroom deputy on 11/12/21.), 94
                          Hearing held on 11/9/2021. (RE: related document(s)68 Motion to dismiss adversary proceeding
                          (Plaintiff's Fifth, Sixth, and Seventh Claims for Relief), filed by Defendants James Dondero, Nancy
                          Dondero, The Dugaboy Investment Trust.) (Appearances: J. Pomeranz, J. Morris, J. Kroop for Plaintiff; D.
                          Deitsch-Perez and M. Aigen, advocating for all Defendants; D. Draper for Dugaboy; T. Berghman for
                          NexPoint Advisors. Nonevidentiary hearing. Court took matter under advisement and expects to give
                          parties a bench ruling through courtroom deputy on 11/12/21.), 95 Hearing held on 11/9/2021. (RE: related
                          document(s)69 Motion for leave to stay litigation filed by Defendants James Dondero, Nancy Dondero,
                          The Dugaboy Investment Trust.) (Appearances: J. Pomeranz, J. Morris, J. Kroop for Plaintiff; D. Deitsch-
                          Perez and M. Aigen, advocating for all Defendants; D. Draper for Dugaboy; T. Berghman for NexPoint
                          Advisors. Nonevidentiary hearing. Motion denied. Counsel should upload order.)). Transcript to be made
   11/16/2021             available to the public on 02/14/2022. (Rehling, Kathy)

                              98 (6 pgs) Stipulation by Highland Capital Management, L.P. and NexPoint Advisors, L.P., Highland
                          Capital Management Services, Inc., and HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC).
                          filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)70 Order (generic)).
   11/19/2021             (Annable, Zachery)

                             99 (9 pgs; 2 docs) Stipulation by Highland Capital Management, L.P. and NexPoint Advisors, L.P.,
                          Highland Capital Management Services, Inc., and HCRE Partners, LLC. filed by Plaintiff Highland
                          Capital Management, L.P. (RE: related document(s)86 Motion to extend time to designate expert (RE:
   11/23/2021             related document(s)70 Order (generic))). (Attachments: # 1 Proposed Order) (Hayward, Melissa)

   11/29/2021                100 (9 pgs) Certificate of service re: Stipulation Regarding Briefing and Hearing Schedule Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)98 Stipulation by Highland Capital

https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                12/15
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12/17/21, 4:47 PM21-03005-sgj Doc 130 Filed 12/17/21            Entered
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                                                                    Court - Northern District17:28:09
                                                                                              of Texas    Page 50 of 52
               Case 3:21-cv-03162-K      Document    1-1    Filed   12/17/21         Page       44  of 46
                      Management, L.P. and NexPoint Advisors, L.P., Highland Capital Management Services,  PageID
                                                                                                               Inc.,50
                                                                                                                     and HCRE
                          Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC). filed by Plaintiff Highland Capital
                          Management, L.P. (RE: related document(s)70 Order (generic)). filed by Plaintiff Highland Capital
                          Management, L.P.). (Kass, Albert)


                             101 (5 pgs) Certificate of service re: Amended Stipulation Regarding Briefing and Hearing Schedule
                          Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)99 Stipulation by
                          Highland Capital Management, L.P. and NexPoint Advisors, L.P., Highland Capital Management Services,
                          Inc., and HCRE Partners, LLC. filed by Plaintiff Highland Capital Management, L.P. (RE: related
                          document(s)86 Motion to extend time to designate expert (RE: related document(s)70 Order (generic))).
   11/29/2021             (Attachments: # 1 Proposed Order) filed by Plaintiff Highland Capital Management, L.P.). (Kass, Albert)

                             102 (9 pgs; 2 docs) Order approving amended stipulation regarding briefing and setting hearing (RE:
                          related document(s) 99 Stipulation and 86 Motion to extend/shorten time filed by Defendant NexPoint
                          Advisors, L.P.). Hearing to be held on 12/13/2021 at 10:30 AM Dallas Judge Jernigan Ctrm for 86,
   11/30/2021             (Attachments: # 1 Exhibit A) Entered on 11/30/2021 (Okafor, Marcey)

                             103 (1 pg) Clerk's correspondence requesting an order from attorney for defendant. (RE: related
                          document(s)69 Motion for leave to stay litigation filed by Defendants James Dondero , Nancy Dondero ,
                          The Dugaboy Investment Trust (Ecker, C.) filed by Defendant James Dondero, Defendant Nancy Dondero,
                          Defendant The Dugaboy Investment Trust, 95 Hearing held on 11/9/2021. (RE: related document(s)69
                          Motion for leave to stay litigation filed by Defendants James Dondero , Nancy Dondero , The Dugaboy
                          Investment Trust.) (Appearances: J. Pomeranz, J. Morris, J. Kroop for Plaintiff; D. Deitsch-Perez and M.
                          Aigen, advocating for all Defendants; D. Draper for Dugaboy; T. Berghman for NexPoint Advisors.
                          Nonevidentiary hearing. Motion denied. Counsel should upload order.)) Responses due by 12/8/2021.
   12/01/2021             (Ecker, C.)

                             104 (4 pgs) Response opposed to (related document(s): 86 Motion to extend time to designate expert
                          (RE: related document(s)70 Order (generic)) filed by Defendant NexPoint Advisors, L.P.) filed by Plaintiff
   12/01/2021             Highland Capital Management, L.P.. (Annable, Zachery)

                             105 (23 pgs) Brief in support filed by Plaintiff Highland Capital Management, L.P. (RE: related
   12/01/2021             document(s)104 Response). (Annable, Zachery)

                             106 (213 pgs; 5 docs) Declaration re: (Declaration of John A. Morris in Support of Highland's
                          Objection to Motion of Defendant NexPoint Advisors, L.P. to Extend Expert Disclosure and Discovery
                          Deadlines) filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)104 Response).
   12/01/2021             (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4) (Annable, Zachery)

                             107 (5 pgs) Certificate of service re: Order Approving Amended Stipulation Regarding Briefing and
                          Hearing Schedule Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)102
                          Order approving amended stipulation regarding briefing and setting hearing (RE: related document(s) 99
                          Stipulation and 86 Motion to extend/shorten time filed by Defendant NexPoint Advisors, L.P.). Hearing to
                          be held on 12/13/2021 at 10:30 AM Dallas Judge Jernigan Ctrm for 86, (Attachments: # 1 Exhibit A)
   12/02/2021             Entered on 11/30/2021). (Kass, Albert)

                             108 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)102 Order approving
                          amended stipulation regarding briefing and setting hearing (RE: related document(s) 99 Stipulation and 86
                          Motion to extend/shorten time filed by Defendant NexPoint Advisors, L.P.). Hearing to be held on
                          12/13/2021 at 10:30 AM Dallas Judge Jernigan Ctrm for 86, (Attachments: # 1 Exhibit A) Entered on
   12/02/2021             11/30/2021) No. of Notices: 1. Notice Date 12/02/2021. (Admin.)

                             109 (12 pgs) Memorandum of Opinion (RE: related document(s)66 Motion to compel filed by
                          Defendant James Dondero, Defendant Nancy Dondero, Defendant The Dugaboy Investment Trust).
   12/03/2021             Entered on 12/3/2021 (Okafor, Marcey)


https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                 13/15
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12/17/21, 4:4721-03005-sgj Doc 130 Filed 12/17/21
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                                                                 Court - Northern District17:28:09
                                                                                           of Texas    Page 51 of 52
            Case
   12/03/2021    3:21-cv-03162-K     Document     1-1    Filed   12/17/21         Page       45  of 46  PageID
                     110 (12 pgs) Order denying motion to compel arbitration and stay litigation (related      51 66)
                                                                                                           document
                          Entered on 12/3/2021. (Okafor, Marcey). Related document(s) 69 Motion for leave filed by Defendant
                          James Dondero, Defendant Nancy Dondero, Defendant The Dugaboy Investment Trust. MODIFIED to
                          add linkage on 12/9/2021 (Ecker, C.).

                              111 (6 pgs) Certificate of service re: 1) Highlands Objection to Motion of Defendant NexPoint
                          Advisors, L.P. to Extend Expert Disclosure and Discovery Deadlines; 2) Highlands Memorandum of Law
                          in Support of Objection to Motion of Defendant NexPoint Advisors, L.P. to Extend Expert Disclosure and
                          Discovery Deadlines; and 3) Declaration of John A. Morris in Support of Highlands Objection to Motion
                          of Defendant NexPoint Advisors, L.P. to Extend Expert Disclosure and Discovery Deadlines Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)104 Response opposed to (related
                          document(s): 86 Motion to extend time to designate expert (RE: related document(s)70 Order (generic))
                          filed by Defendant NexPoint Advisors, L.P.) filed by Plaintiff Highland Capital Management, L.P.. filed by
                          Plaintiff Highland Capital Management, L.P., 105 Brief in support filed by Plaintiff Highland Capital
                          Management, L.P. (RE: related document(s)104 Response). filed by Plaintiff Highland Capital
                          Management, L.P., 106 Declaration re: (Declaration of John A. Morris in Support of Highland's Objection
                          to Motion of Defendant NexPoint Advisors, L.P. to Extend Expert Disclosure and Discovery Deadlines)
                          filed by Plaintiff Highland Capital Management, L.P. (RE: related document(s)104 Response).
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4) filed by Plaintiff Highland Capital
   12/03/2021             Management, L.P.). (Kass, Albert)

                             112 (14 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)109 Memorandum
                          of Opinion (RE: related document(s)66 Motion to compel filed by Defendant James Dondero, Defendant
                          Nancy Dondero, Defendant The Dugaboy Investment Trust). Entered on 12/3/2021) No. of Notices: 1.
   12/05/2021             Notice Date 12/05/2021. (Admin.)

                            113 (14 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)110 Order denying
                          motion to compel arbitration and stay litigation (related document 66) Entered on 12/3/2021.) No. of
   12/05/2021             Notices: 1. Notice Date 12/05/2021. (Admin.)

                             114 (3 pgs) Order denying motion to dismiss adversary proceeding (related document # 68) Entered on
   12/07/2021             12/7/2021. (Okafor, Marcey)

                            115 (44 pgs; 2 docs) Reply to (related document(s): 104 Response filed by Plaintiff Highland Capital
                          Management, L.P.) filed by Defendant NexPoint Advisors, L.P.. (Attachments: # 1 Supplemental
   12/08/2021             Declaration of Davor Rukavina) (Rukavina, Davor)

                             116 (2 pgs) Amended Notice of hearing filed by Defendant NexPoint Advisors, L.P. (RE: related
                          document(s)86 Motion to extend/shorten time filed by Defendant NexPoint Advisors, L.P.). Hearing to be
   12/09/2021             held on 12/13/2021 at 10:30 AM at https://us-courts.webex.com/meet/jerniga for 86, (Vasek, Julian)

                             117 (5 pgs) Certificate of service re: Memorandum Opinion and Order Denying Arbitration Request
                          and Related Relief Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)109
                          Memorandum of Opinion (RE: related document(s)66 Motion to compel filed by Defendant James
                          Dondero, Defendant Nancy Dondero, Defendant The Dugaboy Investment Trust). Entered on 12/3/2021).
   12/09/2021             (Kass, Albert)

                            118 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)114 Order denying
                          motion to dismiss adversary proceeding (related document 68) Entered on 12/7/2021.) No. of Notices: 1.
   12/09/2021             Notice Date 12/09/2021. (Admin.)

                             119 (5 pgs) Certificate of service re: Order denying motion to dismiss adversary proceeding Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)114 Order denying motion to
   12/10/2021             dismiss adversary proceeding (related document 68) Entered on 12/7/2021.). (Kass, Albert)

   12/10/2021                120 (26 pgs; 2 docs) Notice of Expert Report of Seven J. Pully filed by Defendant NexPoint Advisors,
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                  14/15
            Case
12/17/21, 4:47 PM21-03005-sgj Doc 130 Filed 12/17/21              Entered
                                                      U.S. Bankruptcy          12/17/21
                                                                      Court - Northern District17:28:09
                                                                                                of Texas    Page 52 of 52
               Case 3:21-cv-03162-K
                      L.P. (RE: related document(s)86 Motion to extend/shorten time filed by DefendantPageID
                                           Document    1-1    Filed   12/17/21         Page       46  of 46  NexPoint 52
                                                                                                                      Advisors,
                          L.P.). (Attachments: # 1 Expert Report of Steven J. Pully)(Rukavina, Davor)

                             121 (1 pg) Request for transcript regarding a hearing held on 12/13/2021. The requested turn-around
   12/13/2021             time is hourly. (Edmond, Michael)

                             122 Hearing held on 12/13/2021. (RE: related document(s)86 Motion to extend time to designate expert
                          (RE: related document(s)70 Order (generic)) filed by Defendant NexPoint Advisors, L.P., (Appearances:
                          D. Rukavina and J. Vasek for movant NexPoint Advisors; M. Aigen and D. Deitsch-Perez for movants
                          HCMS, Inc. and HCRE Partners, LLC.; H. Winograd for plaintiff/reorganized debtor. Nonevidentiary
                          hearing. Motion denied for reasons stated on the record. Ms. Winograd to upload order.) (Edmond,
   12/13/2021             Michael)


                                  123 (1 pg) PDF with attached Audio File. Court Date & Time [12/13/2021 10:55:42 AM]. File
   12/14/2021             Size [ 12143 KB ]. Run Time [ 00:51:53 ]. (admin).

                             124 (38 pgs) Transcript regarding Hearing Held 12/13/2021 (38 pages) RE: Motion to Extend Expert
                          Disclosure and Discovery Deadlines. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                          AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT
                          RELEASE DATE IS 03/14/2022. Until that time the transcript may be viewed at the Clerk's Office or a
                          copy may be obtained from the official court transcriber. Court Reporter/Transcriber Kathy Rehling,
                          kathyrehlingtranscripts@gmail.com, Telephone number 972-786-3063. (RE: related document(s) 122
                          Hearing held on 12/13/2021. (RE: related document(s)86 Motion to extend time to designate expert (RE:
                          related document(s)70 Order (generic)) filed by Defendant NexPoint Advisors, L.P., (Appearances: D.
                          Rukavina and J. Vasek for movant NexPoint Advisors; M. Aigen and D. Deitsch-Perez for movants
                          HCMS, Inc. and HCRE Partners, LLC.; H. Winograd for plaintiff/reorganized debtor. Nonevidentiary
                          hearing. Motion denied for reasons stated on the record. Ms. Winograd to upload order.)). Transcript to be
   12/14/2021             made available to the public on 03/14/2022. (Rehling, Kathy)

                            125 (19 pgs; 2 docs) Notice of appeal . Fee Amount $298 filed by Defendants James Dondero, Nancy
                          Dondero, The Dugaboy Investment Trust (RE: related document(s)110 Order on motion to compel).
   12/16/2021             Appellant Designation due by 12/30/2021. (Attachments: # 1 Exhibit 1)(Deitsch-Perez, Deborah)

                            Receipt of filing fee for Notice of appeal( 21-03005-sgj) [appeal,ntcapl] ( 298.00). Receipt number
   12/16/2021             AXXXXXXXX, amount $ 298.00 (re: Doc# 125). (U.S. Treasury)

                             126 (19 pgs) Stipulation by Highland Capital Management, L.P. and James Dondero; Highland Capital
                          Management Fund Advisors, L.P.; NexPoint Advisors, L.P.; Highland Capital Management Services, Inc.,
                          and HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC). filed by Plaintiff Highland Capital
   12/17/2021             Management, L.P. (RE: related document(s)63 Amended complaint). (Annable, Zachery)




https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?857550486901792-L_1_0-1                                                                 15/15
